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                                           #:1


 1 Colleen T. Flaherty No. 327563
   McDOWELL HETHERINGTON LLP
 2 1055 E. Colorado Boulevard, Suite 500
   Pasadena, CA 91106
 3 Telephone: 213.631.4059
   Facsimile: 510.628.2146
 4 Email:      colleen.flaherty@mhllp.com
 5 Thomas F.A. Hetherington TX No. 24007359*
   Jarrett E. Ganer TX No. 24055520*
 6 Renee T. Wilkerson TX No. 24084097*
   Elizabeth P. Wroblewski TX No. 24115966*
 7 McDOWELL HETHERINGTON LLP
   1001 Fannin Street, Suite 2400
 8 Houston, TX 77002
   Telephone: 713.337.5580
 9 Facsimile: 713.337.8850
   Email:       tom.hetherington@mhllp.com
10              jarrett.ganer@mhllp.com
                renee.wilkerson@mhllp.com
11              elizabeth.wroblewski@mhllp.com
12 *pro hac vice application forthcoming
13 Attorneys for Defendant
   FORESTERS LIFE INSURANCE
14 AND ANNUITY COMPANY
15
                                UNITED STATES DISTRICT COURT
16
                               CENTRAL DISTRICT OF CALIFORNIA
17
18
        MAGDA VELEZ, Individually, and on          Case No.
19      Behalf of the Class,
                                                   [State Court Case No. 22STCV34543]
20          Plaintiff,
                                                   NOTICE OF REMOVAL OF ACTION
21                        v.                       BY DEFENDANT FORESTERS LIFE
22      FORESTERS LIFE INSURANCE AND               INSURANCE AND ANNUITY
        ANNUITY COMPANY, a New York                COMPANY
23      Corporation; and DOES 1 through 10,
        Inclusive,
24                                                 28 U.S.C. §§ 1332(a), 1441, and 1446
            Defendants.
25                                                 Complaint Filed: Oct. 27, 2022
                                                   Complaint Served: Nov. 10, 2022
26                                                 Trial Date:       None Set
27
28
30
                   DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1          TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2 DISTRICT OF CALIFORNIA, TO PLAINTIFF AND TO PLAINTIFF’S
 3 ATTORNEY OF RECORD:
 4          PLEASE TAKE NOTICE that Defendant Foresters Life Insurance and Annuity
 5 Company, now known as Nassau Life Insurance Company (hereinafter “FLIAC”),1 hereby
 6 removes the above-captioned action (“Action”) from the Superior Court of California for
 7 the County of Los Angeles, where it is currently pending as Case No. 22STCV34543, to
 8 the United States District Court for the Central District of California. As set forth below,
 9 Defendants have complied with the statutory requirements of removal under 28 U.S.C. §§
10 1332, 1441, and 1446, and removal is proper because: (1) the Court has original jurisdiction
11 under the Class Action Fairness Act of 2005, pursuant to 28 U.S.C. §§ 1332(d), 1453, and
12 1446; and (2) the Court has diversity jurisdiction over this matter pursuant to 28 U.S.C. §§
13 1332(a) and 1441.
14                                 I.     REMOVAL IS TIMELY
15          1.   On October 27, 2022, Plaintiff commenced this Action against FLIAC by
16 filing a lawsuit in the Superior Court of the State of California for the County of Los
17 Angeles, styled Magda Velez, Individually, and on Behalf of the Class, Plaintiff vs.
18 Foresters Life Insurance and Annuity Company, a New York Corporation; and Does 1
19 through 10, Inclusive, Case No. 22STCV34543 (the “State Court Action”). A copy of the
20 Individual and Class Action Complaint for: (1) Declaratory Relief or Judgement (Cal. Civ.
21 Code § 1060, et seq.), (2) Unfair Competition (Cal. Bus. and Prof. Code § 17200, et seq.)
22 and Demand for Jury Trial in the State Court Action (hereinafter, the “Complaint” or
23 “Compl.”) is attached as Exhibit A hereto.
24          2.   On November 10, 2022, the agent for service of process for FLIAC was served
25 with copies of the Summons and Complaint. A copy of the Summons of Complaint in the
26
27  As of July 8, 2020, FLIAC was merged into Nassau Life Insurance Company (“Nassau”),
      1
   with Nassau as the sole surviving company. Thus, Nassau’s corporate citizenship is
28 analyzed herein for purposes of removal.
30      Case No.                             1
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 1 State Court Action is attached hereto as Exhibit B and a copy of the Proof of Service of
 2 Summons is attached hereto as Exhibit C.
 3            3.         FLIAC files this notice of removal within 30 days of receipt of a copy of the
 4 Summons and Complaint. See Exhibit C, Proof of Service of Summons. Thus, this Notice
 5 of Removal is timely filed. See 28 U.S.C. § 1446(b)(1) and (c).
 6      II.     THIS COURT HAS JURISDICTION OVER THIS MATTER PURSUANT
 7                                   TO THE CLASS ACTION FAIRNESS ACT
 8            4.         A class action may be removed under the Class Action Fairness Act (“CAFA”)
 9 when: (a) there is minimal diversity (i.e., the citizenship of at least one plaintiff is diverse
10 from the citizenship of at least one defendant); (b) there are at least 100 putative class
11 members; (c) the amount in controversy based upon the class members’ aggregated claims
12 exceeds $5,000,000 exclusive of interest and costs; (d) the primary defendants are not states,
13 state officials, or other governmental entities against whom the district court may be
14 prevented from ordering relief; and (e) the 30-day deadline for removal is satisfied. 28
15 U.S.C. §§ 1332(d)(2), 1332(d)(5)(A)–(B), 1446(b). All of these requirements are met here.
16        A. There Is Minimal Diversity Amongst the Parties.
17            5.         CAFA requires only minimal diversity, and in class action lawsuits, “[t]he
18 district courts shall have original jurisdiction of any civil action in which . . . any member
19 of a class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. §
20 1332(d)(2)(A). Diversity of citizenship exists here.
21            6.         Plaintiff is a citizen and resident of the State of California within the meaning
22 and intent of 28 U.S.C. § 1332. See Exhibit A, Compl. ¶ 17.
23            7.         Additionally, Plaintiff’s proposed class is defined in a way that is limited to
24 policies issued in California:
25            All owners, or beneficiaries upon a death of the insured, of Defendant’s
26            individual life insurance policies that were renewed, issued, or delivered by
27            Defendant in California, and in force on January 1, 2013, and which
28            underwent or will undergo lapse or termination for the nonpayment of
30            Case No.                                    2
                         DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1          premium without Defendant first providing all of the notices, grace periods,
 2          and offers of designation required by Insurance Code Sections 10113.71 and
 3          10113.72.
 4 See id., at ¶ 53 (emphasis added). Thus, the potential class members are believed to be
 5 citizens of California for diversity purposes.
 6          8.        FLIAC shall be deemed a citizen of the State of New York and the State of
 7 Connecticut, because it is a corporation organized under the laws of New York, and has its
 8 principal place of business (i.e., its headquarters) located in Connecticut. See also 28 U.S.C.
 9 § 1332(c)(1). FLIAC is incorporated in New York. A corporation’s “principal place of
10 business” refers “to the place where a corporation’s officers direct, control, and coordinate
11 the corporation’s activities” and “it should normally be the place where the corporation
12 maintains its headquarters . . .” Hertz Corp. v. Friend, 559 U.S. 77, 92–3 (2010). Hartford,
13 Connecticut is the location of FLIAC’s headquarters and Connecticut is the location of
14 FLIAC’s “nerve center.” Thus, FLIAC is a citizen of New York and Connecticut within
15 the meaning and intent of 28 U.S.C. § 1332.
16          9.        Accordingly, there is minimal diversity of citizenship between Plaintiff and
17 FLIAC, and the prerequisite of minimal diversity under CAFA is met.
18        B.      The Alleged Putative Class Exceeds 100 Members.
19          10.       Plaintiff alleges that the putative class “contains hundreds and perhaps
20 thousands of members.” See Exhibit A, Compl. ¶ 54. She further alleges that “[t]he
21 members of the Class are so numerous that their individual joinder is impracticable.” See
22 id. According to Plaintiff, “[t]here is a well-defined community of interest in the questions
23 and answers of law and fact involved affecting class members,” and “[t]he questions and
24 answers of law and fact common to the Class predominate over questions and answers
25 affecting only individual Class members . . .” See id., at ¶ 55.
26          11.       Because the Complaint clearly pleads that “hundreds” and “perhaps
27 thousands” of individuals purchased or maintained insurance products in California from
28 FLIAC during the putative class period, the size of the putative class well exceeds 100
30         Case No.                                  3
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 1 members. Accordingly, the class size requirements under CAFA are satisfied.
 2        C. The Amount in Controversy Is at Least $5,000,000.
 3          12.       FLIAC denies all liability alleged in the Complaint and denies that any class
 4 should be certified in this Action. However, if Plaintiff’s allegations are accepted as true
 5 and damages or restitution were awarded class-wide on Plaintiff’s claims as pled, the
 6 aggregate amount as to the putative class would exceed $5,000,000, exclusive of interests
 7 and costs.
 8          13.       A defendant’s notice of removal under CAFA “need include only a plausible
 9 allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
10 Cherokee Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014); see also Arias v. Residence
11 Inn, 936 F.3d 920, 924 (9th Cir. 2019) (“[W]hen a notice of removal plausibly alleges a
12 basis for federal court jurisdiction, a district court may not remand the case back to state
13 court without first giving the defendant an opportunity to show by a preponderance of the
14 evidence that the jurisdictional requirements are satisfied.”). Evidence establishing the
15 amount in controversy is only required once the plaintiff challenges or the court questions
16 the defendant’s allegation. Id.2
17          14.       “[T]he amount in controversy is determined by the complaint operative at the
18 time of removal and encompasses all relief a court may grant on that complaint if the
19 plaintiff is victorious.” See Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414–15 (9th
20 Cir. 2018). The Complaint therefore is necessarily reviewed by the Court to ascertain the
21 amount in controversy. See LaCrosse, 775 F.3d at 1202.
22          15.       Plaintiff’s Complaint asserts claims against FLIAC for Declaratory Judgement
23 or Relief pursuant to California Civil Code § 1060, et seq. and Unfair Competition pursuant
24 to California Business and Professions Code § 17200, et seq. See id. at ¶¶ 63–77, 78–92.
25 Plaintiff’s Complaint alleges that she suffered “the wrongful and continued repudiation of
26
   2
     FLIAC’s statement of the amount at issue in this removal is solely for purposes of
27 establishing subject matter jurisdiction under CAFA. This statement should not be used as
   an admission  and cannot be used to support damages for any other purpose in this case. See
28 LaCrosse v. Knight   Truck and Trailer Sales, LLC, 775 F.3d 1200, 1203 (9th Cir. 2015).
30         Case No.                                   4
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 1 [her] valuable life insurance [policy],” and that she is entitled to “recover for injuries and
 2 damages and/or for the Court to fashion appropriate remedies necessary,” which includes
 3 the reinstatement of Plaintiff’s Policy. See id. at ¶¶ 15–16, 41–50 and the Prayer for Relief
 4 pp. 23.
 5          16.   While Plaintiff, on behalf of the putative class, does not quantify an exact
 6 amount she contends is in controversy in this lawsuit, she seeks, as part of the class
 7 declaratory judgement or relief for alleged wrongful lapses or terminations of insurance
 8 policies, recovery of the benefits she contends are or will become due to members of the
 9 putative class as a remedy for the allegedly wrongful lapses or terminations. See id. at ¶¶
10 51–62.3
11          17.   For the limited purpose of determining whether an action satisfies the federal
12 amount in controversy requirement, “[t]he amount in controversy in cases dealing with life
13 insurance policies necessarily is the face amount of the policy.” Jefferson v. Liverpool &
14 London Globe Ins. Co., 167 F. Supp. 389, 392 (S.D. Cal. 1958) (holding that, with respect
15 to disputes involving the cancelation of an insurance policy, “[t]he criterion for ascertaining
16 the existence of our monetary jurisdiction in cases where the validity of a life policy is at
17 issue is, therefore, properly the face amount of the policy.”) (emphasis added); Elhouty v.
18 Lincoln Benefit Life Co., 886 F.3d 752, 756 (9th Cir. 2018) (“[I]t is long-established that in
19 declaratory judgment actions about whether an insurance policy is in effect or has been
20 terminated, the policy’s face amount is the measure of the amount in controversy.”);
21 Sandstrom v. Protective Life Ins., Co., No. CV 13-1002-JFW (OPx), 2013 WL 12123308,
22 at *2 (C.D. Cal. Mar. 14, 2013) (“The criterion for ascertaining the existence of our
23 monetary jurisdiction in cases where the validity of a life policy is at issue is, therefore,
24 properly the face amount of the policy.”).
25          18.   As to the allegations above, FLIAC’s records indicate that the face value of
26
27    3
    In California, the measure of damages for a material breach of an insurance policy is the
   “sum   or sums payable in the manner and at the times as provided in the policy to person
28 entitled thereto.” See Cal. Ins. Code § 10111.
30        Case No.                              5
                   DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1 the individual insurance policies issued by FLIAC that lapsed or terminated within the nine-
 2 year period prior to Plaintiff’s filing of the Complaint (January 1, 2013 to October 27, 2022)
 3 that have not been reinstated is in excess of $5,000,000. See Declaration of Jarrett E. Ganer,
 4 ¶ 3. The face value is the maximum death benefit payable upon the death of the insured.
 5 Id. Thus, the alleged amount in controversy in the aggregate well exceeds the amount in
 6 controversy threshold under CAFA.
 7             19.        Accordingly, all prerequisites under CAFA are met, and this case is properly
 8 removable.
 9      III.     THIS COURT HAS DIVERSITY JURISDICTION OVER THIS MATTER
10             19.        Additionally, the State Court Action is properly removable to this Court under
11 28 U.S.C. § 1441 and 28 U.S.C. § 1332(a), because the State Court Action was filed in Los
12 Angeles County Superior Court, is between citizens of different states, and the matter in
13 controversy exceeds the sum or value of $75,000, exclusive of interest and costs.
14         A. There Is Diversity Amongst the Parties.
15             20.        Plaintiff is a citizen and resident of the State of California within the meaning
16 and intent of 28 U.S.C. § 1332. See Exhibit A, Compl. ¶ 17. Based on the allegations in
17 the Complaint, Plaintiff’s place of domicile is California.
18             21.        FLIAC shall be deemed a citizen of the State of New York and the State of
19 Connecticut, because it is a corporation organized under the laws of New York, and has its
20 principal place of business (i.e., its headquarters) located in Connecticut. See also 28 U.S.C.
21 § 1332(c)(1). FLIAC is incorporated in New York. A corporation’s “principal place of
22 business” refers “to the place where a corporation’s officers direct, control, and coordinate
23 the corporation’s activities” and “it should normally be the place where the corporation
24 maintains its headquarters . . .” Hertz Corp. v. Friend, 559 U.S. 77, 92–3 (2010). Hartford,
25 Connecticut is the location of FLIAC’s headquarters and Connecticut is the location of
26 FLIAC’s “nerve center.” Thus, FLIAC is a citizen of New York and Connecticut within
27 the meaning and intent of 28 U.S.C. § 1332.
28             22.        Therefore, and as set forth above, complete diversity among the parties not
30             Case No.                                    6
                          DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1 only exists now, but also existed at the time of the filing of the State Court Action on
 2 October 27, 2022.
 3        B.      The $75,000 Jurisdictional Minimum Amount in Controversy Is Satisfied.
 4          23.       Based on the allegations in the Complaint and the case law discussed below,
 5 the jurisdictional minimum required by 28 U.S.C. § 1332(a) of $75,000 also is satisfied.
 6          24.       This case arises from the termination of Plaintiff’s life insurance policy, which
 7 was designated as Policy No. 686834 (“Policy”) issued by First Investors Life Insurance
 8 Company, insuring Plaintiff’s life in the amount of $400,000. See Exhibit A, Compl. ¶ 42.
 9 Plaintiff alleges that the Policy lapsed in or around November 2018 due to failure to pay the
10 premium. Plaintiff subsequently applied for reinstatement of the Policy, which was denied.
11 See id. at ¶ 46. Thereafter, Plaintiff filed this Action. See id. at ¶ 45. In her Complaint,
12 Plaintiff asserts individual claims for Declaratory Judgement or Relief pursuant to
13 California Civil Code § 1060, et seq. and Unfair Competition pursuant to California
14 Business and Professions Code § 17200, et seq. claims for relief against FLIAC. See id. at
15 ¶¶ 63–77, 78–92. Plaintiff’s Complaint alleges that she suffered “the wrongful and
16 continued repudiation of [her] valuable life insurance [policy],” and that she is entitled to
17 “recover for injuries and damages and/or for the Court to fashion appropriate remedies
18 necessary,” which includes the reinstatement of Plaintiff’s Policy. See id. at ¶¶ 15–16, 41–
19 50 and the Prayer for Relief pp. 23.
20          25.       In the Complaint, Plaintiff also alleges an entitlement for class certification; a
21 declaration of Plaintiff’s and Class’s rights and that FLIAC violated the applicable statutes;
22 an injunction, including public injunctive relief; interest where available; attorney’s fees;
23 and costs of suit. See id. at the Prayer for Relief pp. 23.
24          26.       The jurisdictional minimum required by 28 U.S.C. § 1332(a) may be satisfied
25 by claims for special and general damages and attorneys’ fees. See Cucci v. Edwards, 510
26 F. Supp. 2d 479, 485 (C.D. Cal. 2007) (“[t]he jurisdictional minimum may be satisfied by
27 claims for special and general damages, attorneys’ fees and punitive damages”); Rile v.
28 STRS Ohio CA Real Estate Inv. 1, LLC, No. 09-05634 CW, 2010 WL 1838965 at *2 (N.D.
30         Case No.                                     7
                      DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1 Cal. May 3, 2010) (“A court can consider punitive damages in calculating the amount in
 2 controversy”) (citation omitted).
 3          27.       Further, “[t]he amount in controversy in cases dealing with life insurance
 4 policies necessarily is the face amount of the policy.” Jefferson, 167 F. Supp. at 392;
 5 Elhouty, 886 F.3d at 756 (“[I]t is long-established that in declaratory judgment actions about
 6 whether an insurance policy is in effect or has been terminated, the policy’s face amount is
 7 the measure of the amount in controversy.”); Sandstrom, 2013 WL 12123308, at *2 (“The
 8 criterion for ascertaining the existence of our monetary jurisdiction in cases where the
 9 validity of a life policy is at issue is, therefore, properly the face amount of the policy.”).
10          28.       In this case, it is facially evident from the Complaint that the amount in
11 controversy exceeds $75,000, exclusive interest and costs. See Exhibit A, Compl. ¶ 42.
12                                             IV.    VENUE
13          29.       Venue lies in the United States District Court for the Central District of
14 California under 28 U.S.C. §§ 1391(b) and 1441(a). Under 28 U.S.C. § 1441(a), this case
15 may be properly removed to the Central District of California because Plaintiff filed this
16 case in the California Superior Court for the County of Los Angeles. Plaintiff also alleges
17 this Action arose in the State of California, as well as the relevant life insurance policies
18 being issued and/or delivered in the State of California. See Exhibit A, Compl. ¶¶ 22–27.
19                      V.   ADOPTION AND RESERVATION OF DEFENSES
20          30.       Nothing in this Notice of Removal shall be interpreted as a waiver or
21 relinquishment by FLIAC of any right to assert any defense or affirmative matter, including,
22 but not limited to, the defenses of: (1) lack of jurisdiction over the person; (2) improper
23 venue; (3) insufficiency of process; (4) insufficiency of service of process; (5) improper
24 joinder of claims and/or parties; (6) failure to state a claim; (7) failure to join indispensable
25 parties; (8) any other pertinent defense available under state law or Federal Rule of Civil
26 Procedure 12, any state or federal statute, or otherwise; or (9) arbitration.
27          31.       FLIAC reserves the right to supplement this notice by adding any jurisdictional
28 defenses which may independently support a basis for removal.
30         Case No.                                   8
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 1                                  VI.    CONSENT TO REMOVAL
 2         32.        No consent to removal is necessary as FLIAC is the only named defendant in
 3 this lawsuit.
 4                         VII.    EXHIBITS TO NOTICE OF REMOVAL
 5         33.        True and correct copies of all pleadings and documents previously filed in the
 6 State Court Action are attached to this Notice of Removal as correspondingly numbered
 7 exhibits:
 8                      Exhibit                  Document Description
 9                         A.      Complaint
10                         B.      Summons of Complaint
11                         C.      Proof of Service of Summons
12                         D.      Civil Case Cover Sheet Addendum and Statement
13                                 of Location
14                         E.      Alternate Dispute Resolution (ADR) Information
15                                 Package
16                         F.      First Amended General Order re E-Filing
17                         G.      Voluntary Efficient Litigation Stipulations Packet
18                         H.      Notice of Case Assignment
19                          I.     Notice of Appearance of Attorney Sarah Ball
20                         J.      Initial Status Conference Order
21
                           K.      Minute Order re Complex Designation
22
                           L.      Certificate of Mailing
23
24         34.        As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be
25 filed with the Clerk of the Superior Court of California for the County of Los Angeles, and
26 written notice of the filing of this Notice of Removal will be given to counsel for Plaintiff.
27
28
30         Case No.                                   9
                      DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION FROM STATE COURT
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 1                                    VIII.   CONCLUSION
 2         WHEREFORE, Defendant Foresters Life Insurance and Annuity Company requests
 3 that the action now pending in the Superior Court of California, County of Los Angeles be
 4 removed to this Court and that this Court accept this Notice of Removal for filing in
 5 accordance with the provisions of 28 U.S.C. §§ 1332, 1441 and 1446.
 6         In the event this Court has a question regarding the propriety of this Notice, FLIAC
 7 requests the Court set an evidentiary hearing so that FLIAC may have an opportunity to
 8 more fully brief the Court on the basis for this removal.
 9
10
11   Dated: December 9, 2022                    McDOWELL HETHERINGTON LLP
12
13                                              By:
                                                Colleen T. Flaherty
14
                                                Thomas F.A. Hetherington*
15                                              Jarrett E. Ganer*
                                                Renee T. Wilkerson*
16                                              Elizabeth P. Wroblewski*
17                                              *pro hac vice applications forthcoming
18                                              Attorneys for Defendant
                                                FORESTERS LIFE INSURANCE
19                                              AND ANNUITY COMPANY
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30        Case No.                                10
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                      Exhibit A




                                     11
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                                                                              #:13 Judicial Officer: William Highberger
                                Assigned for all purposes to: Spring Street Courthouse,

Electronically FILED by Superior Court of California, County of Los Angeles on 10/27/2022 05:55 PM Sherri R. Carter, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk

                 1     WINTERS & ASSOCIATES
                       Jack B. Winters, Jr. (SBN 82998)
                 2     Sarah Ball (SBN 292337)
                       8489 La Mesa Boulevard
                 3     La Mesa, California 91942
                       Tel: (619) 234-9000
                 4     Fax: (619) 750-0413
                       Email: jackbwinters@earthlink.net
                 5     Email: sball@einsurelaw.com
                 6     NICHOLAS & TOMASEVIC, LLP
                       Craig M. Nicholas (SBN 178444)
                 7     Alex Tomasevic (SBN    245598)
                       225 Broadway, 19th Floor
                 8     San Diego, California 92101
                       Tel: (619) 325-0492
                 9     Fax: (619) 325-0496
                       Email: cnicholas@nicholaslaw.org
               10      Email: atomasevic@nicholaslaw.org
               11 Attorneys for Plaintiff
                  MAGDA VELEZ, Individually, and
               12 on Behalf of the Class

               13
                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
               14
                                            COUNTY OF LOS ANGELES, GENERAL UNLIMITED
               15
                       MAGDA VELEZ, Individually,                                         Case No.:
               16      and on Behalf of the Class,
                                                                                           INDIVIDUAL AND CLASS ACTION
               17                                         Plaintiff,                       COMPLAINT FOR:
               18                     vs.        (1) DECLARATORY RELIEF OR
                                                     JUDGMENT (CAL. CIV. CODE § 1060,
               19 FORESTERS LIFE INSURANCE           ET SEQ.)
                  AND ANNUITY COMPANY, a
               20 New York Corporation; and DOES (2) UNFAIR COMPETITION (CAL. BUS.
                  1 through 10, Inclusive,           AND PROF. CODE § 17200, ET SEQ.)
               21
                                                          Defendants.                     AND DEMAND FOR JURY TRIAL
               22

               23

               24                  Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class, and as
               25      defined below, makes the following allegations against Defendants FORESTERS
               26      LIFE INSURANCE AND ANNUITY COMPANY, a New York Corporation
               27      (“Forester”), and DOES 1 through 10, as follows:
               28      ///
                             INDIVIDUAL AND CLASS ACTION COMPLAINT; AND DEMAND FOR JURY TRIAL


                                                                                      12
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    1                            I.     NATURE OF THE CASE
    2         1.     Since January of 2013, Foresters has wrongfully terminated thousands
    3   of life insurance policies in violation of California law. The unlawful activity
    4   continues to this day. Plaintiff and the Class of Foresters policy holders and vested
    5   beneficiaries are victims of Foresters’ ongoing unlawful practices.
    6         2.     Since January 1, 2013, every life insurer doing business in California,
    7   before it can lawfully lapse or terminate a life insurance policy for nonpayment of
    8   premium, must strictly comply with the notice and grace period provisions found in
    9   California Insurance Code Sections 10113.71 and 10113.72 (“the Statutes”), as well
   10   as existing in California common law. There are no exceptions. The legal
   11   requirements of the Statutes are simple.
   12         3.     First, every life insurance policy must “contain” and actually grant a 60-
   13   day grace period. This means a 60-day grace period must be actually written and
   14   contained in the terms of the contract of insurance provided to the policy owner.
   15   During this time, premiums received must be accepted without condition and the
   16   policy owner and the insurer may not declare the policy lapsed or terminated. Should
   17   the insured die during the grace period, the insurer must pay the policy benefits.
   18         4.     Second, the Statutes mandate that no policy may lapse or be terminated
   19   until and unless, after a payment is due and is unpaid, the insurer mails a 30-day
   20   warning notice, not only to the policy owner, but also to any assignee, any person
   21   with interest in the policy, and a designee selected by the policy owner to receive
   22   such notice. The notice may only be mailed after the initial premium is due and is
   23   unpaid and must be an accurate description of the status of the policy.
   24         5.     Next, every “applicant” for life insurance must be notified of its right to
   25   designate an individual to receive the 30-day notices provided by the Statutes prior
   26   to the issuance and delivery of the policy. This notice must then be provided annually
   27   to the policy owner. An “applicant” for life insurance means any form of applicant,
   28   including “applicants” for reinstatement, conversion, or any modification or change
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    1   in the contract.
    2         6.     Finally, under the terms of the Statutes, no insurer may lapse or
    3   terminate a life insurance policy for nonpayment without first strictly complying with
    4   all these provisions. Failure to comply with all these notice provisions voids any
    5   attempted termination or lapse as a matter of law until and unless there has been
    6   compliance. None of these requirements are satisfied by substantial performance, nor
    7   are they excused by the conduct of the policy owner or the alleged subjective intent
    8   of the policy owner. These are mandates and, absent compliance with each and every
    9   provision, no lawful termination of a life insurance policy occurs until and unless the
   10   provisions are fully and strictly satisfied.
   11         7.     Since January 1, 2013, Foresters has systematically and purposely failed
   12   to provide full 60-day grace periods, proper notices of pending lapse or termination,
   13   or inform applicants and policy owners of their right to designate a third party to
   14   receive notices of lapse. Further, in evaluating terminations arising from nonpayment
   15   of premium after January 1, 2013, Foresters has failed to apply these rules and
   16   undertakes no evaluation of its own compliance. This specific failure to comply is
   17   universal and implicates policies issued before the date of the Statutes’ enactment
   18   (January 1, 2013).
   19         8.     Foresters has also intentionally concealed from its policy owners and
   20   beneficiaries and other persons and entities with interest in its life insurance products,
   21   the existence of these mandatory rules and procedures and the rights they guarantee—
   22   rights about which Foresters would rather its customers and claimants not know. This
   23   concealment, scheme, and plan by Foresters is intentional, as is Foresters’ complete
   24   disregard for the statutory mandates of California.
   25         9.     Moreover, since January 1, 2013, Foresters has become aware of its
   26   failures and has failed to take the appropriate corrective action. Instead, Foresters
   27   appears to have doubled down and made the decision to ignore the law, ignore court
   28   rulings, and deal with the occasional complaint without regard to its obligation to
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    1   apply these rules properly and completely to all of its varied life insurance products
    2   utilized in this state.
    3         10.     Foresters’ continued disregard for the law is widespread. Indeed,
    4   thousands of policy owners have lost and continue to lose the benefit, value, and
    5   security of their life insurance; have been and continue to be forced into unnecessary
    6   reinstatements; and in many instances have lost all reasonable access to any insurance
    7   at all. Ultimately, Defendant has robbed thousands of its beneficiaries of policy
    8   benefits and thousands of insureds of the ability to have life insurance protection.
    9         11.     The injury to Foresters’ customers and vested beneficiaries continues
   10   today, with policy owners currently paying unnecessary or inflated premiums or
   11   unknowingly suffering from improper, forced “reinstatements” which diminish the
   12   value of the policies. And Foresters has told numerous policy owners that they have
   13   no insurance, although their policies, unbeknownst to the policy owners, are still in
   14   force. All share the same harm and injury--an unlawfully terminated policy. Today
   15   these people, their heirs, beneficiaries, and others with interest likely believe that the
   16   defaulting party to these policies is the policy owner, when, in fact, the only party in
   17   default and the only party which disavowed and repudiated the policy was Foresters.
   18   Beneficiaries who do make claims are having these claims denied on the false
   19   assertion that the policy was terminated when, in fact, benefits are owed. Most actual
   20   vested beneficiaries do not even know that they have rights under a policy illegally
   21   terminated, which still requires payment of the benefits.
   22         12.     The mandates of California law and the California Insurance Code were
   23   established to protect all Californians and others, primarily seniors and the ill, and
   24   apply regardless of the date of the policy’s issuance. McHugh v. Protective Life Ins.
   25   Co. (2021) 12 Cal.5th 213. 1
   26   1
             Recently, the Ninth Circuit upheld a decision by the district court concluding
   27 that failure to strictly comply with the provisions of Insurance Code Sections
      10113.71 and 10113.72 does not legally terminate a life insurance policy purportedly
   28 in default and, that if a death of an insured occurs, policy benefits are owed. Thomas
      v. State Farm Life Ins. Co., No. 20-55231, 2021 U.S. App. LEXIS 30035 (9th Cir.
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    1        13.     Foresters’ conduct and failure to comply with the Statutes is intended to
    2   take advantage of the people for whose benefit the Statutes were passed. Foresters
    3   intentionally increased the likelihood of forfeitures, which allowed Foresters to gain
    4   financially at the expense of its customers.
    5        14.     Plaintiff is a victim of Foresters’ past and continual failure to appreciate
    6   the importance and mandates of the Statutes and to disclose those mandates to its
    7   policy owners. Sometime in November of 2018, Foresters wrongfully terminated
    8   Plaintiff’s policy without providing all of the Statutes’ protections.
    9        15.     In sum, Plaintiff suffered the common single harm suffered by all of the
   10   class members—the wrongful and continued repudiation of their valuable life
   11   insurance policies. Plaintiff’s experience is not unique and is suffered by the Class as
   12   a whole.
   13        16.     Plaintiff brings this action to recover for the injuries and damages and/or
   14   for the Court to fashion appropriate remedies necessary and resulting from these
   15   violations, not only for her benefit, but also on behalf of the numerous California
   16   policy owners and beneficiaries who have also been denied and continue to be denied
   17   the benefits of California law. Plaintiff also requests injunctive relief intended to
   18   ensure Foresters’ future compliance with these important consumer safeguards and
   19   to prevent ongoing violations of these important Statutes.
   20                                            II. PARTIES
   21         17.    Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class, is
   22   an individual and the insured and owner of the subject policy. Plaintiff is and has
   23   been a resident and citizen of Los Angeles County, California, at all times relevant.
   24   Plaintiff pursues these claims and causes of action individually, on her own behalf as
   25   the policy owner, and on behalf of the Class.
   26
      Oct. 6, 2021). See also Bentley v. United of Omaha Life Ins. Co., No. 2:15-cv-07870-
   27 DMG (AJWx), 2018 U.S. Dist. LEXIS 117107 (C.D. Cal. May 1, 2018).

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    1         19.    Defendant Foresters is an New York corporation engaged in business
    2   involving the sale and administration of life insurance throughout the United States
    3   and other territories. Foresters is licensed to conduct business and does business
    4   throughout California. Foresters is a licensed/chartered life insurance carrier in
    5   California and is subject to regulation by California authorities.
    6         20.    Defendants DOES 1 through 10, inclusive, are various forms of
    7   insurance companies, agents, brokers, or other entities engaged in and operating in
    8   conjunction with Foresters in a manner and fashion unknown to Plaintiff at this time,
    9   so as to cause and/or contribute to the injuries and allegations herein described.
   10         21.    Plaintiff is informed and believes, and on that basis alleges, that now
   11   and at all times relevant, each Defendant was and is the agent, employee, employer,
   12   servant, representative, partner, and/or co-venturer of each of the other Defendants,
   13   and was acting and is acting within the scope of such authority and relationship and
   14   with the knowledge, approval, consent, and ratification of the other Defendants, as
   15   applicable, in each of the transactions, events, or other matters herein described.
   16                                 III. JURISDICTION
   17         22.    This is a civil matter of which this Court has jurisdiction. This action
   18   arose in the state of California and exclusively involves application of laws of the
   19   state of California, as well as life insurance policies issued or delivered in California.
   20         23.    Plaintiff is informed and believes that the controversy at issue solely
   21   involves a dispute confined to the state of California, its laws, and the ultimate
   22   jurisdiction of the courts of California.
   23         24.    Plaintiff is informed and believes that all injuries and damages arose
   24   primarily in the state of California and all related conduct of the Defendants occurred
   25   solely within the state of California.
   26         25.    Defendant Foresters is authorized to conduct business in this state and
   27   has intentionally availed itself of the laws and markets within this state and does
   28   substantial business in this state. The business and activities, which are the subject of
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    1   this litigation, are being conducted throughout the state in each and every county on
    2   a uniform and consistent basis. Plaintiff is informed and believes that Foresters itself
    3   treats all policy owners, beneficiaries, agents, producers, or others living or located
    4   in California, as being regulated and governed by the same uniform statewide policies
    5   and procedures. Foresters’ business within this state is substantial and consists of the
    6   marketing, sale, delivery, maintenance, and administration of thousands of life
    7   insurance policies, representing billions of dollars in benefits, as well as the
    8   maintenance of dozens of sales and agent offices.
    9        26.     Foresters advertises throughout California, including throughout this
   10   county, and conducts significant sales and related business activities in California and
   11   in this county, in general, as well as specifically regarding the marketing, sale, and
   12   administration of life insurance policies.
   13        27.     Plaintiff is informed and believes that Foresters, consistent with industry
   14   standards for insurance companies doing business in numerous jurisdictions, utilizes
   15   the addresses of policy owners as a determining factor of what law to apply to the
   16   administration of the policy. As such, Foresters treats policy owners residing in
   17   California as requiring application of California law and Foresters, furthermore,
   18   acknowledges its capacity to be sued in California counties in which it is involved in
   19   business. Foresters has developed and continues to develop and apply not only
   20   marketing strategies, but administration strategies, specifically, in relation to actual
   21   or potential policy owners residing in California. Foresters’ wrongful conduct has
   22   occurred in this county and throughout the state of California. Since 2013, the
   23   wrongful conduct alleged throughout this Complaint has occurred within California.
   24                       IV. THE ENACTMENT AND APPLICABILITY OF
   25                 INSURANCE CODE SECTIONS 10113.71 AND 10113.72
   26         28.    In 2012, after extensive and open hearings and public consideration,
   27   including with Foresters all other major insurance companies doing business in
   28   California, the California Legislature enacted Insurance Code Sections 10113.71 and
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    1   10113.72 (hereinafter the “Statutes”), which instituted procedural requirements for
    2   the termination and lapse of life insurance policies. The Statutes were written to avoid
    3   unintended forfeiture of life insurance policies, primarily being suffered by the
    4   elderly and the ill. The Legislature found there was a significant problem in California
    5   with the elderly abruptly losing insurance because they happened to miss a premium
    6   payment, despite having faithfully and timely paid for many years. But the Statutes
    7   were nonetheless also designed to apply to all forms of life insurance.
    8         29.    Sections 10113.71 and 10113.72, in addition to other statutory
    9   provisions and laws in effect as of January 1, 2013, mandate that every life insurance
   10   policy in or governed by California law, including policies that have issued, been
   11   delivered, renewed, reinstated, converted, or otherwise become subject to the
   12   jurisdiction of California, shall contain a 60-day grace period and that the policy shall
   13   remain in force during the grace period. Cal. Ins. Code § 10113.71(a).
   14           30. The provisions further require that, before any individual life insurance
   15   policy governed by California law is lapsed or terminated for nonpayment of
   16   premium, a 30-day written notice of pending lapse or termination must be mailed,
   17   not only to the policy owner, but also to any additional person who has been
   18   designated to receive such notice, as well as to any person having any interest in the
   19   policy. Cal. Ins. Code § 10113.72(c).
   20         31.    The provisions also mandate that the insurer, on an annual basis, as well
   21   as during any application process, notify the policy owner of his or her right to
   22   designate additional notice recipients. This again is an obligation owed on any policy
   23   within the jurisdiction of California.
   24         32.    Finally, the Statutes mandate that no lapse or termination is effective
   25   unless all of the applicable provisions are strictly complied with. The Statutes
   26   codified existing California law on strict compliance with forfeiture provisions.
   27         33.    The provisions are applicable individually and severally to all life
   28   insurance policies governed by California law.
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    1       34.   More specifically, Section 10113.71 originally reads as follows:
    2                  § 10113.71 Grace Period; Notice of pending lapse
                  and termination of policy; Mailing requirement
    3
                         (a) Each life insurance policy issued or delivered in
    4             this state shall contain a provision for a grace period of not
                  less than 60 days from the premium due date. The 60-day
    5             grace period shall not run concurrently with the period of
                  paid coverage. The provision shall provide that the policy
    6             shall remain in force during the grace period.
    7                    (b) (1) A notice of pending lapse and termination of
                  a life insurance policy shall not be effective unless mailed
    8             by the insurer to the named policy owner, a designee
                  named pursuant to Section 10113.72 for an individual life
    9             insurance policy, and a known assignee or other person
                  having an interest in the individual life insurance policy,
   10             at least 30 days prior to the effective date of termination if
                  termination is for nonpayment of premium.
   11
                        (2) This subdivision shall not apply to nonrenewal.
   12
                        (3) Notice shall be given to the policy owner and to
   13             the designee by first-class United States mail within 30
                  days after a premium is due and unpaid. However, notices
   14             made to assignees pursuant to this section may be done
                  electronically with the consent of the assignee.
   15
                        (c) For purposes of this section, a life insurance
   16             policy includes, but is not limited to, an individual life
                  insurance policy and a group life insurance policy, except
   17             where otherwise provided.
   18      Next, Section 10113.72 states:
   19
                       § 10113.72 Right to designate person to receive
   20             notice of lapse or termination of policy for nonpayment
                  of premium; Right to change designation; Notice of
   21             lapse or termination

   22                   (a) An individual life insurance policy shall not be
                  issued or delivered in this state until the applicant has been
   23             given the right to designate at least one person, in addition
                  to the applicant, to receive notice of lapse or termination
   24             of a policy for nonpayment of premium. The insurer shall
                  provide each applicant with a form to make the
   25             designation. That form shall provide the opportunity for
                  the applicant to submit the name, address, and telephone
   26             number       of      at     least      one      person,     in
                  addition to the applicant, who is to receive notice of lapse
   27             or termination of the policy for nonpayment of premium.

   28                   (b) The insurer shall notify the policy owner
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    1                annually of the right to change the written designation or
                     designate one or more persons. The policy owner may
    2                change the designation more often if he or she chooses to
                     do so.
    3
                           (c) No individual life insurance policy shall lapse or
    4                be terminated for nonpayment of premium unless the
                     insurer, at least 30 days prior to the effective date of the
    5                lapse or termination, gives notice to the policy owner and
                     to the person or persons designated pursuant to
    6                subdivision (a), at the address provided by the policy
                     owner for purposes of receiving notice of lapse or
    7                termination. Notice shall be given by first-class United
                     States mail within 30 days after a premium is due and
    8                unpaid.
    9         35.    These provisions were intended to standardize the procedures and
   10   notices used by life insurers to terminate policies. The Statutes further codified
   11   longstanding California law and policy regarding the state’s desire to protect policy
   12   owners and beneficiaries from loss of insurance resulting from the failure, e.g., to pay
   13   a single premium after years of timely payments.
   14                       V. FORESTERS’ VIOLATIONS OF LAW
   15         36.    In 2012, Defendant was made fully aware of the drafting and enactment
   16   of these provisions. And through its own lobbying groups and regulatory advisors,
   17   Defendant understood how and in what fashion the Statutes would apply. Prior to
   18   enactment, Defendant made no attempt to object to the enactment of the Statutes,
   19   which are the subject of this litigation.
   20         37.    Despite early knowledge of the Statutes and their mandates, since
   21   January 1, 2013, Defendant has also failed to fully comply with the Statutes.
   22   Foresters has treated policies differently based on their date of issuance and the type
   23   of policy.
   24         38.    Specifically, Foresters has not strictly complied with the Statutes
   25   regarding policies issued or delivered in the state of California prior to January 1,
   26   2013. Specifically, Foresters’ violations and failures to comply with the Statutes has
   27   included:
   28                      i.   Failing to provide full 60-day grace periods contained in the
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    1                      policy by either not actually attaching or making the grace
    2                      period a physical part of the policy, improperly advising policy
    3                      owners and/or claimants of the wrong grace period, not
    4                      accepting premiums without conditions during the grace
    5                      period or inaccurately declaring a policy terminated prior to
    6                      the expiration of the grace period, which amounts to a
    7                      repudiation of the policy;
    8                ii.   Failing to mail accurate 30-day pending lapse notices to the
    9                      policy owner and/or designee either by inaccurately describing
   10                      the actual grace period, by failing to mail to those recipients
   11                      the notices required by law, and/or by providing insufficient
   12                      time periods, as required by law;
   13               iii.   Failing to provide annual notifications to policy owners of
   14                      their rights to designate;
   15               iv.    Failing to apply the mandates of the Statutes as an absolute
   16                      condition for termination of any policy for nonpayment of
   17                      premium and instead excusing noncompliance based on the
   18                      inaccurate perceived fault of the policy owner or other
   19                      irrelevant grounds or justification;
   20                v.    By treating policy owners directly and indirectly as if they are
   21                      in default for payment of premiums, when, in fact, in every
   22                      instance, Foresters first violated the terms of the policy and/or
   23                      Statutes prior to any actual default by any policy owner;
   24               vi.    By attempting to impose new conditions on terminated
   25                      policies, including the demand for repayment of unearned
   26                      premiums, as well as ignoring the consequences of
   27                      noncompliance with the Statutes; and/or
   28               vii.   By other acts by which the mandates of the Statutes are not
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    1                          being strictly complied with.
    2         39.    Foresters has been aware, since 2013, that all of its policies administered
    3   in the state of California and in force after January 1, 2013, were to be administered
    4   consistent with these provisions. However, Foresters has acted in contravention and
    5   in violation of various Insurance Code provisions, other than the Statutes, including
    6   regulatory mandates and the implied covenant of good faith and fair dealing implied
    7   in every insurance contract in California.
    8         40.    Finally, Plaintiff is informed and believes Foresters has failed to institute
    9   appropriate training and education of its sales and underwriting staff, as well as its
   10   claims personnel and others, whose knowledge of these rules is essential for
   11   Foresters’ operation. Plaintiff is informed and believes that additional violations of
   12   the Statutes have also occurred, which will be disclosed during this litigation.
   13                      VI. PLAINTIFF’S POLICY, LAPSE, TERMINATION,
   14                          AND DENIAL OF REINSTATEMENT
              41.    Plaintiff’s experience with Foresters is representative of Foresters’
   15
        ongoing course of misconduct and noncompliance.
   16
              42.    In June of 2010, Magda Velez purchased a Level Term Life Insurance
   17
        Policy in California from First Investors Life Insurance Company, Policy No.
   18
        686834, insuring her life in the amount of $400,000. A copy of what is in the
   19
        possession of Plaintiff and which Plaintiff believes is the entire policy is attached
   20
        hereto and incorporated by reference herein as Exhibit “A.” At the time of issuance,
   21
        the primary beneficiary was Ricardo Rosas, Jr., Plaintiff’s son. Subsequent to
   22
        issuance, Defendant Foresters took over all responsibility for the policy.
   23
              43.    The policy was initially issued and then delivered in the state in 2010.
   24
        The policy had a planned monthly premium of $56.60, and contains a provision
   25
        stating “A Grace Period of 31 days will be allowed for payment of each premium due
   26
        after the first. This Policy will continue in force during the Grace Period.” Exhibit
   27
        “A.” No other grace period is specified.
   28
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    1         44.    Ms. Velez paid the premiums monthly from 2010 until October of 2018,
    2   through an automatic withdrawal taken by Foresters from her account. Sometime in
    3   2018, Ms. Velez’ account was compromised as a result of the theft of her checkbook,
    4   and her bank closed the account. Plaintiff is informed and believes that, as a result of
    5   the closing of her account, the automatic payment Foresters attempted to withdraw
    6   in November of 2018 did not go through.
    7         45.    Ms. Velez is not certain of the date Defendant claims the policy lapsed,
    8   but believes it was sometime in November of 2018. Shortly thereafter, Ms. Velez
    9   became aware the policy had lapsed and reached out to Foresters. Foresters informed
   10   Ms. Velez that she would be required to apply for reinstatement, but that it was just
   11   a formality and her policy would certainly be reinstated.
   12         46.    Subsequently, Ms. Velez applied for reinstatement, including providing
   13   medical releases. Sometime later, Foresters informed Ms. Velez that her application
   14   for reinstatement had been denied due to her medical history.
   15         47.    As of the date of Mr. Velez’s denial of reinstatement, Foresters had
   16   violated every single provision of the Statutes. Initially, prior to discovery and
   17   investigation, it appears Foresters violated at the least Ins. Code Section 10113.72(b)
   18   by not annually notifying her of a right to designate. Foresters terminated the policy
   19   without compliance with the provisions of Ins. Code Section 10113.71(a), which
   20   mandated a 60-day grace period. Foresters also failed to provide notices, as required
   21   by Ins. Code Sections 10113.71(b)(1) and (3). No notice was sent to the policy owner
   22   and no notice was sent to the designee due to Foresters’ previous violations of failure
   23   to provide the right to designate during the years the policy was in force after 2013.
   24   See Ins. Code Section 10113.72(b). Foresters then proceeded to violate Insurance
   25   Code Sections 10113.71 and 10113.72, when claiming that the policy had terminated.
   26   In fact, under the provisions of Sections 10113.71(b)(1) and 10113.72(b), no legal
   27   termination had occurred. Foresters never complied with the strict compliance
   28   aspects of the Statutes in any respect.
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    1         48.    All these violations occurred prior to Ms. Velez even reaching the end
    2   of the statutory and contractual grace period. Ms. Velez had done nothing contrary to
    3   the terms of the policy, but was being dealt with as the party in default.
    4         49.    Plaintiff is further informed and believes that, irrespective of the
    5   application of the provisions of Sections 10113.71 and 10113.72, Foresters
    6   systematically failed to comply with the express terms of the policy, which promised
    7   a default notice prior to terminating the policy at the end of the grace period.
    8         50.    Each of Defendant’s violations was a material violation of law and a
    9   material breach and repudiation of the policy, thereby excusing any further
   10   performance by Ms. Velez of tendering premiums to maintain the policy in force or
   11   imposing any requirements or conditions. Foresters was in contractual breach and
   12   remained in breach of the policy at all times from at least January 1, 2013, until the
   13   date of this filing. As a result of each and every violation, there was harm and injury
   14   to Ms. Velez.
   15                             VII. CLASS ACTION ALLEGATIONS
   16         51.    Plaintiff is informed and believes Defendant has not, since at least
   17   January 1, 2013, properly and fully complied with the provisions of Insurance Code
   18   Sections 10113.71 and/or 10113.72. Since that time, Defendant has failed and
   19   continues to fail to provide these protections to policy owners and their beneficiaries.
   20         52.    Plaintiff brings this action on behalf of all members of the proposed
   21   Class, as follows:
   22         The Class:
   23        53.     All owners, or beneficiaries upon a death of the insured, of Defendant’s
   24   individual life insurance policies that were renewed, issued, or delivered by
   25   Defendant in California, and in force on January 1, 2013, and which underwent or
   26   will undergo lapse or termination for the nonpayment of premium without Defendant
   27   first providing all of the notices, grace periods, and offers of designation required by
   28   Insurance Code Sections 10113.71 and 10113.72.
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    1        54.     Numerosity. The members of the Class are so numerous that their
    2   individual joinder is impracticable. Plaintiff is informed and believes, and on that
    3   basis alleges, that the proposed Class contains hundreds and perhaps thousands of
    4   members. The true number of members is known or ascertainable by the Defendant,
    5   as are their identities. Thus, Class members may likely be notified of the pendency
    6   of this action by first class mail, electronic mail, and/or by published notice.
    7        55.     Existence and Predominance of Common Questions and Answers of
    8   Law and Fact. There is a well-defined community of interest in the questions and
    9   answers of law and fact involved affecting class members. The questions and answers
   10   of law and fact common to the Class predominate over questions and answers
   11   affecting only individual Class members, including, but not limited to, the following:
   12                       a.     Has Defendant violated and continued to violate the
   13                provisions of Sections 10113.71 and 10113.72?;
   14                       b.     Is Defendant continuing to refuse to provide the protections
   15                afforded by the provisions of Sections 10113.71 and 10113.72?;
   16                       c.     Whether Defendant’s life insurance policies have been
   17                ineffectively lapsed or terminated or subsequently been unnecessarily
   18                modified through reinstatement;
   19                       d.     Should the Court invalidate improper lapses, terminations,
   20                and/or reinstatements of policies that resulted from Defendant’s failure
   21                to comply with the Insurance Code?; and
   22                       e.     Should Defendant be required to make payments to
   23                beneficiaries of policies where the insured has died and the policy was
   24                lapsed or terminated in violation of Sections 10113.71 or 10113.72?
   25         56.    Typicality. Plaintiff’s claims are typical of the claims of the members
   26   of the Class because Plaintiff and each member of the Class were victims of the same
   27   statutory violations. Further, Plaintiff’s claims are typical of the claims of her fellow
   28   Class members, which all arise from the same operative facts involving the
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    1   Defendant’s unlawful violations of Sections 10113.71 and 10113.72.
    2        57.     Adequacy of Representation. Plaintiff will fairly and adequately protect
    3   the interests of the Class. Plaintiff has retained counsel highly experienced in
    4   handling class action litigation, including that which involves consumer protection
    5   from unfair insurance business practices, and Plaintiff intends to prosecute this action
    6   vigorously. Plaintiff has no interest adverse or antagonistic to that of the Class.
    7        58.     Superiority. A class action is a superior method for the fair and efficient
    8   adjudication of this controversy. The damages or other financial detriment suffered
    9   by individual Class members are relatively small compared to the burden and expense
   10   that would be expended by individual litigation of their claims against Defendant. It
   11   would thus be virtually impossible for Class members, on an individual basis, to
   12   obtain effective redress for the wrongs done to them. Furthermore, even if Class
   13   members could afford such individualized litigation, the court system could not.
   14   Individualized litigation would create the danger of inconsistent or contradictory
   15   judgments arising from the same set of facts. Individualized litigation would also
   16   increase the delay and expense to all parties and the court system from the issues
   17   raised by this action. The class action device provides the benefit of adjudication of
   18   these issues in a single proceeding, economies of scale, and comprehensive
   19   supervision by a single court, and presents no unusual management difficulties under
   20   the circumstances. Moreover, many Class members remain unaware of their rights
   21   and, without this Class action, would remain unaware of their rights and benefits.
   22         59.    In the alternative, the Class may also be certified because:
   23                (a)    The prosecution of separate actions by individual Class members
   24         would create a risk of inconsistent or varying adjudication with respect to
   25         individual Class members that would establish incompatible standards of
   26         conduct for Defendant;
   27                (b)    The prosecution of separate actions by individual Class members
   28         would create a risk of adjudications with respect to them that would, as a
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    1            practical matter, be dispositive of the interests of other Class members not
    2            parties to the adjudications, or would substantially impair or impede their
    3            ability to protect their interests; and/or
    4                   (c)    Defendant has acted or refused to act on grounds generally
    5            applicable to the Class, thereby making appropriate final declaratory and/or
    6            injunctive relief with respect to the members of the Class as a whole.
    7        60.        Unless the Class is certified, Defendant will retain monies received
    8   because of its conduct taken against the Class members and Plaintiff. Unless a
    9   classwide injunction is issued, Defendant will continue to commit the violations
   10   alleged and members of the Class will continue to be harmed.
   11            61.    Plaintiff knows of no difficulty likely to be encountered in the
   12   management of this litigation that would preclude its maintenance as a class action.
   13   Because the action is brought as a class action, the Court need only apply a single set
   14   of California laws as they relate to Defendant’s violation of Sections 10113.71 and
   15   10113.72.
   16            62.    Plaintiff has incurred, and will incur, expenses for attorney’s fees and
   17   costs in bringing this action. These attorney’s fees and costs are necessary for the
   18   prosecution of this action and will result in a benefit to each of the members of the
   19   Class.
   20                              VIII. FIRST CAUSE OF ACTION
   21                     FOR DECLARATORY JUDGMENT OR RELIEF
                               (CAL CIV. CODE § 1060, ET SEQ.)
   22
                              (By Plaintiff, Individually, and on Behalf of
   23                                           the Class)
   24
                 63.    Plaintiff incorporates by reference each and every allegation contained
   25
        above.
   26
                 64.    Plaintiff, in her individual capacity, as well as in her representative
   27
        capacity, brings this action individually and on behalf of all members of the Class.
   28
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    1         65.    Under California law, “[a]ny person interested under a written
    2   instrument…or under a contract, or who desires a declaration of his or her rights or
    3   duties with respect to another…may, in cases of an actual controversy relating to the
    4   legal rights and duties of the respective parties,” maintain a complaint or cross-
    5   complaint “for a declaration of his or her rights and duties.” Furthermore, he or she
    6   “may ask for a declaration of rights or duties, either alone, or with other relief, and
    7   the court may make a binding declaration of these rights or duties, whether or not
    8   further relief is or could be claimed at the time.” Cal. Civ. Code § 1060.
    9         A.     Basis for Relief
   10        66.     On January 1, 2013, the California Insurance Code was amended by
   11   Sections 10113.71 and 10113.72. The provisions of these Statutes were immediately
   12   and thereafter read into all in-force policies, regardless of the date of issuance. The
   13   provisions were further intended to require compliance by all policies that came
   14   within the jurisdiction of California, including, but not limited to, policies that
   15   renewed or in somehow continued in force on or after January 1, 2013.
   16        67.     These Statutes and amendments to the California Insurance Code were
   17   intended to and do regulate the lapse and termination procedures arising from
   18   nonpayment of premiums which may occur from the date of enactment and thereafter.
   19         68.    The amendments were not intended to relieve or waive a policy owner’s
   20   continuing obligation to pay premiums, but operate to keep the policy in force until
   21   the policy was properly lapsed or terminated consistent with the statutory provisions
   22   which were incorporated into the terms of the policy by law. Each of these statutory
   23   requirements was intended to stand alone.
   24         69.    Forfeiture provisions for nonpayment of premium for life insurance
   25   policies are strictly construed against lapse or termination and California law
   26   disfavors forfeiture of insurance. Forfeitures “are often the means of great oppression
   27   and injustice” and “the courts should be liberal in construing the transaction in favor
   28   of avoiding a forfeiture.” Ins. Co. v. Norton, 96 U.S. 234, 242 (1978). “Forfeiture of
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    1   a policy will be avoided on any reasonable showing.” Klotz v. Old Line Life Ins. Co.
    2   of Amer., 955 F.Supp. 1183, 1188 (N.D. Cal. 1996).
    3         B.     There is an Actual Controversy Requiring a Declaration of Rights
                     and Duties
    4

    5         70.    An actual controversy has arisen and now exists between Plaintiff and
    6   Defendant concerning their respective rights and duties under the California
    7   Insurance Code and the policy. Plaintiff contends that Sections 10113.71 and
    8   10113.72 apply to the subject policy, as well as to all of Defendant’s California life
    9   insurance policies in force as of or after January 1, 2013, including any policies that
   10   were renewed in California on or after January 1, 2013. Plaintiff also contends that
   11   these Statutes govern the manner and procedure in which life insurance policies can
   12   legally be lapsed or terminated as of January 1, 2013, and thereafter. Defendant
   13   contends that policies terminated without the protection of California Insurance Code
   14   Sections 10113.71 and 10113.72 nevertheless remained terminated and that policy
   15   owners are not entitled to the revival of their policies.
   16         71.    Plaintiff contends that the violations of the Statutes, as described herein,
   17   all invalidate and void any attempts to terminate the subject policies and/or act as a
   18   repudiation of those policies.
   19         72.    Plaintiff desires a judicial determination of rights and duties, and a
   20   declaration or a judicial determination that the provisions of Sections 10113.71 and
   21   10113.72 must be strictly complied with in order to terminate a policy for
   22   nonpayment of premium.
   23         73.    Plaintiff desires a judicial determination that any life insurance policy
   24   must contain a 60-day grace period in the written contract.
   25         74.    Plaintiff desires a judicial determination that failure to annually provide
   26   notice of a right to designate a third party to receive notices of pending lapse under
   27   Section 10113.72 renders a policy termination ineffective, leaving the policy in force.
   28         75.    Plaintiff desires a judicial determination that Defendant is not entitled to
                                         19
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    1   premium payments for periods of time where Defendant has declared a policy
    2   terminated in violation of Sections 10113.71 and 10113.72.
    3         76.    Plaintiff desires a judicial determination that her policy was not properly
    4   terminated in conformance with Sections 10113.71 and 10113.72.
    5         77.    A judicial declaration would advise insureds and their beneficiaries, like
    6   Plaintiff, of their rights and would advise Defendant of its duties to Plaintiff and to
    7   Class members concerning policy owners' rights to designate individuals to receive
    8   notices of pending lapse and termination and the right to receive notice of, and the
    9   ability to properly utilize, the legally required grace period. A judicial declaration is
   10   also necessary to determine the validity of any unnecessary reinstatements obtained,
   11   to determine whether policies were legally in force at the times of deaths of insureds,
   12   and to determine whether beneficiaries were wrongfully denied payment of benefits
   13   under their policies.
   14                           IX.     SECOND CAUSE OF ACTION
   15                           UNFAIR COMPETITION (CAL. BUS.
                                AND PROF. CODE § 17200, ET SEQ.)
   16
                            (By Plaintiff, Individually, and on Behalf of
   17                                         the Class)
   18
              78.    Plaintiff incorporates by reference each and every allegation contained
   19
        above.
   20
              79.    Plaintiff brings this claim individually and also on behalf of all members
   21
        of the Class, as necessary.
   22
              80.    California Business and Professions Code Sections 17200, et seq.,
   23
        (“UCL”) prohibit any unlawful, unfair, deceptive, or fraudulent business practice.
   24
              81.    Defendant committed “unlawful” acts under the UCL by violating and
   25
        continuing to violate Sections 10113.71 and 10113.72, including by failing to afford
   26
        policy owners, including Plaintiff, the requisite 60-day grace period and/or written
   27
        30-day notice prior to any lapse or termination, and further, an annual right to
   28
                                         20
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    1   designate someone else to also receive notices of pending lapse or termination of
    2   coverage.
    3         82.    Plaintiff’s policy, as well as policies which have allegedly been lapsed
    4   and/or terminated, remain in force and benefits are payable upon the death of the
    5   insured. Because of Foresters’ violations of the California Insurance Code, Foresters’
    6   attempted terminations or lapses of policies, like the subject policy, were illegal and
    7   ineffective. The policies, in other words, remain in force and subject to payment of
    8   the benefits. Foresters’ failure to comply with the statutory terms has not effectively
    9   terminated any policy and Plaintiff and her fellow Class members all remain in
   10   ongoing valid contractual relationships with Foresters.
   11         83.    Foresters’ unlawful practices also included and continue to include
   12   Defendant’s ongoing concealment of the rights afforded to policy owners under
   13   Sections 10113.71 and 10113.72. Defendant continues to conceal and mislead the
   14   policy owners and beneficiaries of the existence of a right to a 30-day lapse notice, a
   15   right to a 60-day grace period, a right to an annual designation, as well as the
   16   provisions of these Statutes that mandate strict compliance before any effective lapse
   17   or termination occurs.
   18         84.    Moreover, Foresters has committed deceptive acts under the UCL by
   19   affirmatively and erroneously telling Class members, like Plaintiff, that their policies
   20   had grace periods of less than 60 days and/or that their policies lapsed or terminated.
   21   The truth is that the policies had grace periods of at least 60 days and the policies had
   22   not actually lapsed or terminated.
   23         85.    The unlawful and unfair business practices described above have
   24   proximately caused harm and injuries to Plaintiff, the Class, and to the general public
   25   in the form of lost money or property. The money lost by the Class includes the policy
   26   benefits that Foresters is withholding, as well as the premiums it wrongfully
   27   collected.
   28         86.    Pursuant to California’s UCL, Plaintiff, the general public, and the
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    1   members of the Class are entitled to revival of their policies Defendant illegally
    2   terminated by means of such business practices. Examples of this lost money
    3   acquired illegally by Defendant include unrefunded premiums, withheld benefits, and
    4   diminution of value of policies.
    5         87.    Defendant continues to this day to ignore or otherwise violate the
    6   Statutes and continues to ignore or repudiate otherwise valid and in-force life
    7   insurance policies that should be in effect today. Defendant continues to rob
    8   beneficiaries and owners, like Ms. Velez, of their lawfully-owned policies and
    9   benefits. As such, and pursuant to California’s UCL, Plaintiff and the members of the
   10   Class and the general public are also entitled to injunctive relief, including public
   11   injunctive relief, against Defendant’s ongoing business practices.
   12         88.    If Defendant is not enjoined from engaging in the unlawful business
   13   practices described above, Plaintiff, the Class, and the general public will be
   14   irreparably injured.
   15         89.    Plaintiff, the general public, and the members of the Class have no plain,
   16   speedy, and adequate remedy at law.
   17         90.    Defendant, if not enjoined by this Court, will continue to engage in the
   18   unlawful business practices described above, in violation of the UCL, in derogation
   19   of the rights of Plaintiff, the Class, and the general public.
   20         91.    Plaintiff’s success in this action will result in the enforcement of
   21   important rights affecting the public interest by conferring a significant benefit upon
   22   the general public.
   23         92.    Private enforcement of these rights is necessary, as no public agency has
   24   pursued enforcement and the interests Plaintiff seeks to protect are for the benefit of
   25   the general public. Plaintiff is therefore entitled to an award of attorneys’ fees and
   26   costs of suit pursuant to, among others, California’s UCL, the Common Fund
   27   Doctrine, the Public Benefit Doctrine, and California Code of Civil Procedure
   28   Section 1021.5.
                                         22
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    1                              XI.   PRAYER FOR RELIEF
    2          Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class, prays
    3   for relief against Defendants, and each of them, as follows:
    4          1.    For certification of this action as a class action;
    5          2.    A declaration of Plaintiff's and the Class' rights pursuant to the
    6                insurance policies issued by Defendant and a declaration that
    7                Defendant has violated the Statutes;
    8          3.    For an injunction to issue against Defendant, stopping and remedying
    9                the ongoing violation of the Statutes, including public injunctive relief;
   10          4.    For interest where available;
   11          5.    For attorney’s fees and all litigation costs and expenses where
   12                available; and
   13          6.    For such other and further relief as this Court deems just and proper.
   14   Respectfully submitted:
   15
        DATED: October 27, 2022                        WINTERS & ASSOCIATES
   16

   17
                                                 By:   /s/Jack B. Winters, Jr.
   18                                                  Jack B. Winters, Jr., Esq.
   19                                                  Sarah Ball, Esq.
                                                       jackbwinters@earthlink.net
   20                                                  sball@einsurelaw.com
   21
                                                       NICHOLAS & TOMASEVIC, LLP
   22                                                  Craig M. Nicholas, Esq.
                                                       Alex Tomasevic, Esq.
   23                                                  cnicholas@nicholaslaw.org
                                                       atomasevic@nicholaslaw.org
   24
                                                       Attorneys for Plaintiff MAGDA
   25                                                  VELEZ, Individually,
   26                                                  and on Behalf of the Class

   27 ///
   28 ///
                                           23
            INDIVIDUAL AND CLASS ACTION COMPLAINT; AND DEMAND FOR JURY TRIAL

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    1                              DEMAND FOR JURY TRIAL
    2         Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class, hereby
    3   demands a jury trial on all issues triable by jury in this matter.
    4   Respectfully submitted:
    5
        DATED: October 27, 2022                         WINTERS & ASSOCIATES
    6

    7
                                                  By:    /s/Jack B. Winters, Jr.
    8                                                   Jack B. Winters, Jr., Esq.
    9                                                   Sarah Ball, Esq.
                                                        jackbwinters@earthlink.net
   10                                                   sball@einsurelaw.com
   11
                                                        NICHOLAS & TOMASEVIC, LLP
   12                                                   Craig M. Nicholas, Esq.
                                                        Alex Tomasevic, Esq.
   13                                                   cnicholas@nicholaslaw.org
                                                        atomasevic@nicholaslaw.org
   14
                                                        Attorneys for Plaintiff
   15                                                   MAGDA VELEZ, Individually,
   16                                                   and on Behalf of the Class

   17

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    5

    6

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                      Exhibit B




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                                                            SUMMONS                                                                                 FOR COURT USE ONLY
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                                                   (CIrACION JUDICIAL)

      NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO)I
      FORESTERS LIFE INSURANCE AND ANNUITY COMPANY, a New York Corporation; and DOES
      1 through 10, Inclusive


      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTA DEMANDANDO EL DEMANDANTE)l
      MAGDA VELEZ, Individually, and on Behalf of the Class

       NOTICEI You have been sued. The court may dedde against you without your being heard unless you respond within 30 days. Read the information
       below.
          You have 30 CALENDAR DAYS SRer this summons and legal papers are served on you to file a written response at this court and have a copy
       served an the plaintiff. A letter or phone call will not protect you. Your wriNen response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center twww.caurttnfo.cs.gavyseghefp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ssk the
       court clerk for a fee waiver form. If you do nol tile your response on time, you may lose Ihe case by default, and your wages, money, and property may
       be taken without further warning from the court.
          There are other legal requirements. You may want to call sn attorney right away. If yau do not know an SNorney, you may want lo call an aNorney
       referral service. If you cannot afFord an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups st Ihe California Legal Services Web sile iwww lawhelpcalifomiaarg), the California Courts Online SelfHelp Center
       twww courfinro.ca.gavlseghelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any seNlement or arbitration award of $ 10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       IAIRSOI Lo han demandsdo. SI na responde denlro de 30 dias, Ia corte puede dscidir en su contra sin escuchar su versi6n. Les Ia Inrormsci6n a
       continuacidn.
          Ttene 30 DIAS CE CALENCARIO despuds de que Ie enfreguen asia ciiacian y pape)ca Iegaies para presenter una respuesta par escnto en esta
       carts y Racer qua se entregue una copis si demandanfe. Ijna carta o una Iiamada Ielelonica no Ia praiegen. Su respuesta por escrito Iiene que esiar
       en Ionnalo legal correcia si desea que pracesen su caso en la carte. Es pasibie que hays un formuisrio que usted puede ussr para su respuesta.
       Pueds encanfrar estos Iormuisrios de la carte y mss informacian en ei Cenira de Ayuda de Iss Carfes de California iwww.sucorle.cs.gov), en Ia
       bibiioleca de Ieyes ds su candada o en Is carte que Ie quede mas ceres. Si na puede pager Ia cools de presenfacian, pida al secretaria de ls corfe que
       Ie dd un Iormuierio de exenci6n de pago de cuotas. St no pmsenta surespuests a tiempo, puede perderel caso porincumplimienlo yla corte Ie podrg
       quitsr su susida, dinero y blenes sin mas advertencia.
          Hay otros requisifos Iegaies. Es recamendable que flame e un abogedo inmediaiamenfe. Si no conace a un ehogado, puede Iismar s un servicio de
       remtsian s abogsdos. Si na puede pager s un abagado, es posible que cumpla can los requisifos pars obiener ssrvicios legsles gratuiios de un
       programs de servicios leg ales sin fines de Iucro. Puede encontrar estos grupos sin fines de Iu era en el sitia web de California Legal Services,
       fwww.lswheipcaiifomis org), sn ei Centro de Ayuda de Iss Cartes de California, fwww.sucorte.ca.gov) o poniandose en contscto con Ia corle o ei
       calsgia de sbagados locales. A V/SO: Por Iey, Is corte Iiene derecha a reciamar Ias cuatas y Ias costos exentos por fmponer un gravamen sobre
       cuaiquierrecuperaci6n de$ 10000 6 mas de valorrecibida medisnte un scuerdo o una cancesian de arbiirsje en un casa de derecho civil. Ttene que
       pager el gmvamen de Is corte antes de que Ia corte pueda desechar el caso.
                                                                                                         CASE
      The name and address of the court is:                                                                     NUMBER'Ndmera




                                                                                                                                defaced)
      (El nombre y direccidn de la corte es): Stanley Mosk Courthouse
      111 No. Hill St., Los Angeles, CA 90012

      The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
      (EI nombre, Ia direccfdn y ei numero de telgfono del abogado del demandente, o dei demandante que no tiene abagado, es):
      Jack B. Winters, Jr., Sarah Ball, Winters & Associates, 8489 La Mesa Blvd., La Mesa, CA 91942 (Tel: 619.234.9000)
      DATE:                                                               Clerk, by                                            , Deputy
      (Fecha)                                                              (Secretan'o)                                        (Adjunto)
      (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
      (Para prueba de entrega de esta citati6n use ei fonnulario Proof of Service of Summons, (POS-010)).
       [SEALI

                                        1.
                                        2.
                                                   ~
                                        NOTICE TO THE PERSON SERVED: You are served


                                                   ~
                                                  as an individual defendant.
                                                  as the person sued under the fictitious name of (specify):

                                              3.   ~~     on behalf of(specify):

                                                                                                                                     ~
                                                     ~
                                                   under:

                                                     ~
                                                                 CCP 416.10 (corporation)
                                                                 CCP 416.20 (defunct corporation)                                    ~
                                                                                                                                     ~
                                                                                                                                           CCP 416.60 (minor)
                                                                                                                                           CCP 416.70 (conservatee)



                                                   ~~
                                                                 CCP 41640 (association or parlnership)                                    CCP 416.90 (authorized person)
                                                                 other (specify):
                                              4.          by personal delivery on (date):
                                                                                                                                                                              Page 1 or 1
       Fooe Adopted for Mwldetoty Uae                                                                                                               Code of Civil Procedure 5$ 412 20, a55
         Judtoal Couodl of Celfomie                                            SUMMONS
                                                                                                                                                                       ivww coudace gov
        sUM.100 [nev. July 1, 2005l




                                                                                       55
Case 2:22-cv-08932-ODW-MRW   Document 1 Filed 12/09/22   Page 57 of 111 Page ID
                                   #:57




                      Exhibit C




                                     56
              Case 2:22-cv-08932-ODW-MRW                              Document 1 Filed 12/09/22                       Page 58 of 111 Page ID
                                                                            #:58                                                                        POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                    FOR COURT USE ONLY

- Jack B Winters Jr. SBN 82998
   Winters & Associates
   8489 La Mesa Boulevard
   La Mesa Ca 91942
 TELEPHONE NO.: (619)234-9000 FAX NO. (Optional): r rs 19 ) 7�}0-0�.13
     E-MAIL ADDRESS (Optional):

     ATTORNEY FOR (Name)'.        Plaintiff
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF                          Los Angeles
          STREET ADDRESS      312 N Spring Street
         MAILING ADDRESS:
                      LOS Angeles Ca 90012
         CITY AND ZIP CODE:

                      Spring Street Courthouse
             BRANCH NAME
         PLAINTIFF/PETITIONER: Magda Velez, et al.                                                         CASE NUMBER:

                                                                                                           22STCV34543
     DEFENDANT/RESPONDENT:                  Foresters Life Insurance and
                                            Annuity Company
                                                                                                           Ref. No. or File No :
                                      PROOF OF SERVICE OF SUMMONS
                                                                                                           Velez
                                            (Separate proof of service is required for each party served.)
1.      At the time of service I was at least 18 years of age and not a party to this action.
2.      I served copies of:
        a.   W    summons
        b.   W   complaint
        c.   W   Alternative Dispute Resolution (ADR) package
        d.   W    Civil Case Cover Sheet (served in complex cases only)
        e.   D   cross-complaint
        f.   W   other(specify documents): First Amended General Order,Notice of Case Assignment Unlimited
                                               CivilCase,Voluntary efficient Litigation Stipulations, Notice
3.      a. Party served (specify name of party as shown on documents served):
               Foresters Life Insurance and Annuity Company, a New York Corporation
        b.    W Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                     under item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
                     Authorized to Accept Service ( Nicole Stauss)
4.      Address where the party was served:
        2710 Gateway Oaks Drive Ste 150N
        Sacramento Ca 95833
5.      I served the party (check proper box)
        a.   W   by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date) : 11-10-2022                      (2) at (time) : 2 : 34pm
        b.   D   by substituted service. On (date):                         at (time):              I left the documents listed in item 2 with or
                 in the presence of (name and title or relationship to person indicated in item 3):


                    (1) D (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                          of the person to be served. I informed him or her of the general nature of the papers.
                    (2) D (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                  place of abode of the party. I informed him or her of the general nature of the papers.
                    (3)   D (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                  address of the person to be served, other than a United States Postal Service post office box. I informed
                                  him or her of the general nature of the papers.
                    (4)   D       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                  at the place where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on
                                  (date) :                      from (city):                               or  D   a declaration of mailing is attached.
                    (5)   D       I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                            Page 1 of 2
Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure,§ 417 10
 Judicial Council of California   c:[B"           • I
                                         !:s. sentra_
POS-01o [Rev. January 1, 2007) ceb.com I �".Forms
                                                             PROOF OF SERVICE OF SUMMONS




                                                                                   57
       Case 2:22-cv-08932-ODW-MRW Document 1 Filed 12/09/22 Page 59 of 111 Page ID
     PLAINTIFF/PETITIONER: Velez                #:59     CASE NUMBER

                           Foresters Life Insurance and  22STCV34543
,- DEFENDANT/RESPONDENT:Annui ty Company
5.    c.     D by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                    address shown in item 4, by first-class mail, postage prepaid,
                    (1) on (date) :                                        (2)   from (city):
                    (3)     Dwith two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                             to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc.,§ 415.30.)
                    (4)     Dto an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)
      ct.    D      by other means (specify means of service and authorizing code section):




              D Additional page describing service is attached.
6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.      D
              as an individual defendant.
      b.      D
              as the person sued under the fictitious name of(specify):
      c.      D
              as occupant.
      ct. [X) On behalf of (specify): Foresters Life Insurance and Annuity Company
              under the following Code of Civil Procedure section:
                      [X) 416.10 (corporation)                                  D
                                                                               415.95 (business organization, form unknown)
                            D
                          416.20 (defunct corporation)                          D
                                                                               416.60 (minor)
                            D
                          416.30 Uoint stock company/association)               D
                                                                               416.70 (ward or conservatee)
                            D
                          416.40 (association or partnership)                   0
                                                                               416.90 (authorized person)
                            D
                          416.50 (public entity)                                D
                                                                               415.46 (occupant)
                                                                                D
                                                                               other:
7.    Person who served papers
      a.      Name: Jade V Meyers
      b.      Address: 1901 First Ave Ste 217-i San Diego Ca 92101
      c.      Telephone number: ( 619) 23 3-147 8
      ct.     The fee for service was:$
      e.      I am:
              (1)   0  not a registered California process server.
              (2)   D  exempt from registration under Business and Professions Code section 22350(b).
              (3) [X) registered California process server:
                       (i)       0owner        D  employee      [X) independent contractor.
                       (ii) Registration No.: 201 7-25
                       (iii) County: Sacramento

8.    W I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9.    D I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: 11-10-2022



                                                                                                   __
                                                                                            --.--V-/\
                                                                                     �
,Tade v Meyers
              (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)        ►            ,   -F-+         NATtJi,,_f;:
                                                                                                        �----1




POS-010 IRev. January 1, 2007)                            PROOF OF SERVICE OF SUMMONS                                              Page 2 of 2
C[B' [ Essential
ceb.com     );"' i Forms·                                                                          Velez

                                                                          58
Case 2:22-cv-08932-ODW-MRW   Document 1 Filed 12/09/22   Page 60 of 111 Page ID
                                   #:60




                      Exhibit D




                                     59
Electronically FILED by Superior Court of California, County of Los Angeles on 10/28/2022 02:33 PM Sherri R. Carter, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
            Case 2:22-cv-08932-ODW-MRW                               Document         1 Filed 12/09/22
                                                                                22STCV34543                                    Page 61 of 111 Page ID
                                                                                                                                                CM-010
      ATTORNEY OR PARTY WITUOUTATTORNEY fName, Sl        da number and addfess)     #:61
                                                                                                                                       FOR COURT USE ONLY
      Jack 8 Wfnters, Jr. (SBN 82998), Tel. (619) 234-9000, Fax (619) 750-0413
      Wfnters & Assomates, 8489 La Mesa Blvd, La Mesa, CA 91942

                TELEPUDNE No   619.234.9000               FAX NO IOPffonai/ 619.750-0413
               E-MAA. ADDREss  jackbwinters@earthlink.net
           ATTQRNEY FQR fNamef Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       sTREETADDREss 111 No. Hfll Street
       MAE mc ~OUR~as 111 No. Hill Street

      CITY AND zip DUDE Los Angeles, CA 90012
          SRANCHNAME STANLEY MOSK COURTHOUSE

      CASE NAME:
       MAGDA VELEZ v FORESTERS LIFE INSURANCE AND ANNUITY COMPANY, a NY Corporabon



                                       ~
                                                                                                                     cAsENuMsFR

      ~x
              CIVIL CASE COVER SHEET
               Unlimited
               (Amount
                                Limited
                                (Amount
                                                                   ~       Counter           ~
                                                                      Complex Case Oeeignation
                                                                                                     Joinder
                                                                 Filed with first appearance by defendant
                                                                                                                     22STCV34543

               demanded                     demanded is
                                                                      (Cal. Rules of Court, rule 3.402)
               exceeds 525,000)             525,000 or less)                                                          DEFT

                                                Items 1 — 6 below must be completed (see /nstructions on page 2).
       1.    Check one box below for the case type that best describes this case:
            Auto Tort                                   Contract

            ~     Auto (22)
                  Un/nsured motorist (46)                        ~
                                                                 ~
                                                                        Breach of contract/warranty (06)
                                                                        Rule 3.740 collections (09)
            Other pl/pD/WD (personal injury/property
            Damage/Wrangful Death) Tort
                  Asbestos (04)
                                                                 ~
                                                                 ~
                                                                        Other collections (09)
                                                                        Insurance coverage (16)
                                                                        Other contract (37)
                  Product liab/bty (24)
                                                           Real Property

            ~     Medical malpractice (45)
                  Other Pl/PD/WD (23)
                                                                 Eminent domain/Inverse

                                                                 ~
                                                                 condemnation (14)
            Non-Pl/PD/WD (Other) Tort


            ~
            ~x Business tort/unfair business practice (07)       ~
                                                                 Wrongful ev/ctfon (33)
                                                                 Other real property (26)


            ~     Civil rights (08)
                  Defamation (13)                                ~
                                                           Unlawful Detainer


                                                                 ~
                                                                 Commercial (31)
                  Fraud (16)
                  Intellectual property (19)                     ~       Residential (32)
                                                                         Drugs (38)


            ~     Professional negligence (25)
                  Other non-PI/PD/WD tort (35)                   ~
                                                                 Judicial Review


                                                                 ~      Asset forfeiture (05)                     ~
                                                                                                                  ~       Partnership and corporate governance (21)


            ~
            Employment
                  Wrnngful termination (36)
                  Other employment (15)
                                                                 ~
                                                                 ~
                                                                        Petibon re. arbitration award (11)
                                                                        Writ of mandate (02)
                                                                         Otherludioal review(39)
                                                                                                                          Other peblion (not specified above) (43)




      2.  This case ~x is                ~is not  complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the

         a.
         b.
             ~
          factors requiring exceptional judicial management

             ~      Large number of separately represented parties       d
                    Extensive motion practice raising d/fficult or novel e.
                                                                                            ~
                                                                                            ~
                                                                                   Large number ofwftnesses
                                                                                   Coordination w/th related actions pendfng in one or more
                    Issues that w/II be time-consuming to resolve                  courts in other counties, states, or countries, or in a tederal
         c. ~x      Substantial amount of documentary evidence

      3 Remedies sought (chec/r at/ that app/y) a. ~x
                                                                         f.
                                                                                   court
                                                                                            ~
                                                                                    Substant/al postjudgment ludfcial superv/sion
                                                              monetary b ~x nonmonetary; declaratory or injunctive relief c.               punitive             ~
      6
          Th/s case ~x is                ~
          Number of causes of action (spec(ty): Two: Declaratory Relief or Judgment; and Unfair Competition
                                          is not  a class action suit.
          If there are any known related cases, file and serve a notice of related case. (Youmay use form CMO/5)
      Date October 26, 2022
                                                                                                      /s/JBck Ij. Wjitters, Jr.
                                  (TYPE OR PRINT NAME)                                                          ISIGNATURE OF PARTY OR ATTORNEY FOR PARTY/
                                                                             NOTICE
        ~
          Plaintiff must file this cover sheet with the f/rst paper filed in the action or proceeding (except small claims cases or cases f/led
          under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3 220 ) Failure to file may result
          in sanctions.
        ~ F/le this cover sheet in addftfon to any cover sheet required by local court rule
        ~
          If thfs case is complex under rule 3.400 et seq. of the Cakfornfa Rules of Court, you must serve a copy of th/s cover sheet on all
          other partfes to the actfon or proceed/ng.
        ~ Unless this is a collections case under rule 3.740 or a complex case, thfs cover sheet will be used for statistical purposes only
                                                                                                                                                                       Pagelof2
      Form Adopled for Mandafoo Usa                                                                                          Cal Rules ofcoufl, rules 2 30, 3 220, 340/P3 403, 3 740
        Judkaaf Counai of Cslffofnfa                               CIVIL CASE COVER SHEET                                           cal standards of.i dhl Admfntsnaion, sld 3 10
                                                                                                                                                            I

      CM-010 f Res Ssplembef I, 2020
                                                                                       60
                                                                                                                                                                   Ivlnv ooml* a gov
  Case 2:22-cv-08932-ODW-MRW                              Document 1 Filed 12/09/22                         Page 62 of 111 Page ID
                                                                #:62                                                                         CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $ 25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

plaintif
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on ag parties to the action. A defendant may file and serve no later than the time of its first aapearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the
the case is complex.
  Auto Tort
     Auto (22)-Personal Injury/Property
                                                          CASE TYPES AND EXAMPLES
                                                     Breach of Contract/Warranty (06)
                                                                                                   ha made no designation, a designation that

                                                                                                    Provlsionagy Complex Civil Litigation (Cal.
                                                                                                    Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                        Breach af Rental/Lease                            Antitrust/Trade Regulation (03)
        Uninsured Motorist (46) (if the                      Contract (nof unlawful detainer              Construction Defect (10)
         caseinvolves an uninsured                                                                        Claims Involving Mass Tort (40)
         motorisf c/aim subject to                      Contract/Warranty Breach-Seller                   Securities Litigation (28)
         arbitration, check fhis ifem                         Plaintiff (nof fraud or negligence)         Environmental/Toxic Tort (30)
         instead of Auto)                               Negligent Breach of Canlracu                      Insurance Coverage Claims
  Other Pl/PD/WD (Personal injury/                           Warranty                                           (arising from provisiana//y complex
  Property Damage/Wrongful Death)                       Other Breach of CantracUWarranly                        case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open            Enforcement of Judgment
       Asbestos (04)                                    book accounts) (09)                             Enforcemenl of Judgment (20)
          Asbestos Property Damage                      Collection   Case-Seller    Plaintif                Abstract of Judgment (Out af
          Asbestos Personal Injury/                     Other Promissory Note/Collections                        County)
               Wrongful Death                                                                           Confession of Judgment (non-
       Product Liability (not ashes/os or            Insurance   Coverage    (noi provisions//y
                                                                                                             dome sf/c re)a//one)
           ioxicyenvironmeniai) (24)                                                                    Sister Stale Judgment
      Medical Malpractice (45)                           Auto Subrogation                              Administrative Agency Award
         Medical Malpractice-                                                                              (not unpaid taxes)
             Physicians & Surgeons                                                                      Petition/Certification of Enhy of
    Other Professional Health Care                       Contractual Fraud                                  Judgment on Unpaid Taxes
          Malpractice                                    Other Conlrad Dispute                         Other Enforcement of Judgment
    Other PI/PDNI/D (23)                          Real Property                                             Case
        Premises Liability (e.g., slip               Eminent Domain/Inverse                         Miscellaneous Clvg Complaint
             and fall)                                   Condemnation (14)                              RICO (27)
        Intentional Bodily Injury/PD/WD              Wrongful Eviction (33)                             Other Complaint (nof specified
              (e.g., assault, vandalism)             Other Real Property (e.g., quiet title) (26)           above) (42)
        Intentional tntlictian of                       Writ of Possession af Real Property                 Declaratory Relief Only
             Emotional Distress                                                                             Injunctive Relief Only (non-
        Negligent Inffiction of                          Quiet Tige                                              harassment)
              Emotional Distress                         Other Real Properly (no/ em/nant                  Mechanics ienI


        Other Pl/PD/WD                                   domain, iandiord/leneni, ar                       Other Commercial Complaint
 Non-Pl/PD/WD (Other) Tort                               foreciosum)                                           Case (non-tort/non-comp/ex)
    Business Tort/Unfair Business                                                                          Other Civil Complaint
        Practice (07)                                                                                          (non-forf/non-comp)ex)
    Civil Rights (e.g., discrimination,              Residential (32)                               Mlsceganeous Clvg Petition
         false arrest) (noi c/vii                    Drugs (38) (if the case involves illegal          Partnemhip and Corporate
              harassment) (08)                       drugs, check this ifem; ofherwise,                    Governance (21)
      Defamation (e.g., slander, libel)              report as Commercial or Residenf/a/)              Other Petition (naf specified
           (13)                                   Judicial Review                                          above)(43)
      Fraud (16)                                     Asset Forfeiture (05)
                                                                                                           Civil Harassment
      Inlegectual Property (19)                      Petition Re: Arbitration Award (11)
                                                                                                           Workplace Violence
      Professional Negligence (25)                   Writ of Mandate (02)
                                                                                                           Elder/Dependent Adult
          egal Malpractice                               Wri-Administrative Mandamus
          I                                                                                                     Abuse
         Other Professional Malpractice                  Writ-Mandamus on Limited Court
                                                                                                           Election Contest
             (no i med/ca/or /ega/)                                                                        Petigan for Name Change
      Other Non-Pl/PD/WD Tort (35)                       Writ-Other Limited Court Case                     Petition for Relief From Late
 Employment                                                  Review
                                                                                                                Claim
      Wrongful Termination (36)                       Other Judicial Review (39)                           Other Civil Pebtion
      Other Employmenl (15)                              Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                              Commissioner Aaaeals
CM-Ot a Pev September L 2021]                                                                                                               Pago 2 er 2
                                                          CIVIL CASE COVER SHEET




                                                                          61
  Case 2:22-cv-08932-ODW-MRW                                          Document 1 Filed 12/09/22                            Page 63 of 111 Page ID
                                                                            #:63

SHORT TITLF                                                                                                          CASE NUMBER
MAGDA VELEZ v. FORESTERS LIFE INS. AND ANNUITY CO.. et al                                                             22STCV34543


                           CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)


           This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                       Applicable Reasons for Choosing Courthouse Location (Column C)
 1.        Class Actions must be filed in the Stanley Mask Courthouse, central Distnct.        7.    Location where petitioner resides.

 2.        Permissive fihng in Central District.                                               8.    Location wherem defendant/respondent functions whogy.

 3.        Location where cause of actian arose.                                               9.    Location where one or more of the parties reside.

 Q.        Location wtiere bodily iniury, death or damage occurred.                            le.   Location of Labor Commissioner Office

 S.        Location where performance required, or defendant resides.                          11.   Mandatory fitmg location IHub Cases-unlawful detainer, limited
                                                                                                     nan-coaection, hmited cotlection).
 B.            Location of property or permanently garaged vehicle.




                                                                                                                                                             C

                              Civil Case Cover                                             Type of Action                                                Applicable
                              Sheet Case Type                                             (check only one)                                          Reasons(see
                                                                                                                                                    Step 3 above)
                                   Auto (22)                 2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful                                  1,4
      0                                                   Death
      0                      Uninsured Motorist             4601 Uninsured Motorist — Personal injury/Property                                              1,4
                                       (46)               Damage/Wrongful Death

                               Other Personal                 2301 Premise Liability (e.go dangerous conditions of property,                                1,4
                               Injury/ Property           slip/trip and fall, dog attack, etc.)
      Ql
      CL
           a                  Damage/ Wrongful
      o    fa
           Ql                     Death (23)              CI 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                  1,4
           cs                                             (e.g., assault, battery, vandalism, etc.)
           Tur
           e
           0                                                  2303 Intentional Infliction Df Emotional Distress                                             1,4
      Ol

      o ~                                                     2304 Other Personal Injury/Property Damage/Wrongful Death                                     1,4
        Qr
           Qo
      Ql   fil
           E                                                  2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                               1,4
        fil
      w Cs                                                Facility
  O
                                                              2306 Intentional Conduct — Sexual Abuse Case (in any form)                                    1,4


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SHORT TITLE                                                                                             cnss Hu Mar R
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                                  At                                                                                                   C
                        Civil Case Cover                                          Type of Action                                Applicable
                       Sheet Case Type                                           (check only one)                              Reasons (see
                                                                                                                               Step 3 above)
                                                   CI   2307 Canstruction Accidents                                                    1,4
                                                   CI   2308 Landlord — Tenant Habitability (e.g., bed bugs, mold, etc.)               1,4

  Z'                                    y(     )   Lj 2401 Product Uability(not asbestos or toxic/environmental)                       1,4
       IU
 'C ae
       ra    ra                                                                                                                    1, 3, 5
  ra   E O                                         C3  2402 Product Liability — Song-Beverly Consumer Warranty Act (CA
       ra
                                                   Civil Code 551790-1795.8) (Lemon Law)
  L    /To             Medical Malpractice         CI   4501 Medical Malpractice — Physicians & Surgeons                               1,4
  ro   0                       (45)
       rc                                                                                                                              1,4
 0r                                                CI   4502 Other Professional Health Care Malpractice
                        Business Tort(07)          (2) 0701 Other Commercial/Business Tort (not fraud or breach of               +12, 3
                                                   contract)
                           Civil Rights (08)       CI   0801 Civil Rights/Discrimination                                           1    2.3
  c     rU
  0 ca
        0     C
                        Defamation (13)            0 1301 Defamation (slander/libel)                                               1r 2r 3
  0               0
  0.              U-         Fraud (16)            CI   1601Fraud (no contract)                                                    1,23
  C
  0
  EC
                            Professional           CI   2501 Legal Malpractice                                                     123
                           Negligence (25)
                                                   CI   2502 Other Professional Malpractice (not medical or legal)                 1    2.3
             10              Other (35)            CI   3501 Other Non-Personal Injury/Property Damage Tort                        12 3
  C
                           Wrongful                CI   3601 Wrongful Termination                                                  12.3
                        Termination (36)
  E                    Other Employment                 1501 Other Employment Complaint Case                                       1, 2, 3
  0                                                C3
  ca                             (15)
  E                                                C3   1502 Labor Commissioner Appeals                                                10

                       Breach of Contract/         Cl 0601 Breach of Rental/Lease Contract (not unlawful detainer or                   2,5
                            Warranty (06)          wrongful eviction)
                           (notinsurance)
                                                   CI 0602 Contract/Warranty Breach — Seller Plaintiff (no                             2,5
                                                   fraud/negligence)
                                                   CI   0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                                   CI   0604 Other Breach of Contract/Warranty (no fraud/ negligence)              1, 2, 5
  la
  r
  a
                                                   CI   0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                    2,5
  C
  0                        Cagections (09)         L3   0901 Collections Case -Seller Plaintiff                                   5, 6, 11
                                                   0 0902 Other Promissory Note/Collections Case                                    5, 11
                                                   CJ 0903 Collections Case — Purchased Debt (charged off consumer debt           5, 6, 11
                                                   purchased on or after January 1, 2014)
                                                   CI   0904 Collections Case — COVID-19 Rental Debt                                5, 11
                       Insurance Coverage          CI   1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                                 (18)



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SNORT TITLE.                                                                                 CASE NUMBER
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                               A                                                B                                       C

                     Civil Case Cover                                     Type of Action                           Applicable
                     Sheet Case Type                                     (check only one)                         Reasons(see
                                                                                                                  Step 3 above)
                    Other Contract (37)         3701 Contractual Fraud                                              1, 2, 3, 5
 e 8                                            3702 Tortious Interference                                          1, 2, 3, 5
   e
 0
 0 Llo                                          3703 Other Contract Dispute (not breach/insurance/fraud/           1, 2, 3, 8, 9
 LI
                                             negligence)
                     Eminent Domain/            1401 Eminent Domain/Condemnation                                       2,6
                         Inverse                                                    Number of Parcels
                    Condemnation (14)
 Gl                 Wrongful Eviction           3301 Wrongful Eviction Case                                            2,6
 0.
 0                            (33)
 GL
                           Other Real           2601 Mortgage Foreclosure                                              2,6
 ttl
 Gl                       Property (26)         2602 Quiet Title                                                       2,6
                                                2603 Other Real Property (not eminent domain,                          2,6
                                             landlord/tenant, foreclosure)
                    Unlawful Detainer           3101 Unlawful Detainer — Commercial (not drugs or wrongful            6, 11
                    —Commercial (31)         eviction)
 tU
 L                  Unlawful Detainer           3201 Unlawful Detainer — Residential (not drugs or wrongful           6, 11
 IG
 a
  Gl
                    — Residential
                                  (32)       eviction)
 cs
                    Unlawful Detainer           3401 Unlawful Detainer- Post Foreclosure                             2, 6, 11
 e
                    —Post Foreclosure
  te
  L                        (34)
                    Unlawful Detainer           3801 Unlawful Detainer — Drugs                                       2, 6, 11
                      —
                         Drugs (38)
                     Asset Forfeiture           0501 Asset Forfeiture Case                                            2, 3, 6
                           (05)
                        Petition re             1101 Petition to Compel/Confirm/Vacate Arbitration                     2,5
                     Arbitration (11)
  tU
 'S
                    Writ of Mandate             0201 Writ — Administrative Mandamus                                    2,8
  IU                       (02)                 0202 Writ   —   Mandamus on Limited Court Case Matter
  Gl
 Ral
                                                0203 Writ   —   Other Limited Court Case Review
                        Other Judicial          3901 Other Writ/Judicial Review                                        2,8
                           Review (39)
                                                3902 Administrative Hearing                                            2,8

                                                3903 Parking Appeal                                                    2,8
                        Antitrust/Trade         0301 Antitrust/Trade Regulation                                       1, 2, 8
       at               Regulation (03)
  L    0    O
  0 0 t
       E
                                         )      0401Asbestos Property Damage
       0 '4
  0 LI
 GL                                             0402 Asbestos Personal Injury/Wrongful Death


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                                A                                                                                             C

                      Civil Case Cover                                        Type of Action                            Applicable
                      Sheet Case Type                                        (check only one)                          Reasons(see
                                                                                                                       Step 3 above)
                          Construction                1001 Construction Defect                                             1, 2, 3
                           Defect (10)
 JG
 QJ
 CL
                      Claims Involving               4001 Claims Involving Mass Tort                                       1,2,8
 E                     Mass Tort (40)
 0      C     n/
 La     0
        LC
              ~/    Securities Litigation             2801 Securities Litigation Case                                      1,2,8
        Gl    e                  (28)
 ro     oo
 C 20         0
 0            L2           Toxic Tort                 3001 Toxic Tort/Environmental                                       1,2,3,8
                    E n v i ra n m e n t a (3 0)
                                        I


 0I                 Insurance Coverage
 0.                                                   41011nsurance Coverage/Subrogation (complex case only)              1, 2, 5, 8
                        Claims from
                     Complex Case (41)
                      Enforcement of                  2001 Sister State Judgment                                          2, 5, 11
 G
 0                     Judgment (20)                  2002 Abstract of Judgment                                             2,6
 C
 Gl
 E
        Ql                                            2003 Confession of Judgment (non-domestic relations)                  2,9
        E
 to     Iel
 t/
 I
                                                      2004 Administrative Agency Award (not unpaid taxes)                   2,8
 0
 C                                                    2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2,8
                                                      2006 Other Enforcement of Judgment Case                              2,8,9
                           RICO (27)                  2701 Racketeering (RICO) Case                                        1, 2, 8
        OI
 t/I
        C            Other Complaints                 4201 Declaratory Relief Only                                         1, 2, 8
 Ql
 0ro    CL            (not specified                  4202 Injunctive Relief Only (not domestic/harassment)                  2,8
        E               above) (42)
 „"La                                                  4203 Other Commercial Complaint Case (non-                          1,2,8
                                                   tort/noncomplex)
                                                       4304 Other Civil Complaint (non-tort/non-complex)                   1, 2, 8
                        Partnership                    2101 Partnership and Corporation Governance Case                      2,8
 I/I
 0                      Corporation
  0
                      Governance (21)
 0
  GJ
                      Other Petitions                 4301 Civil Harassment with Damages                                   2, 3, 9
                       (not specified                 4302 Workplace Harassment with Damages                               2, 3, 9
 ca                     above) (43)
  I/I                                                 4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
  0
  GJ
  0nl                                                 4304 Election Contest                                                   2

  QJ
                                                      4305 Petition for Change of Name/Change of Gender                      2,7
  Ll
  I/I
                                                      4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                                      4307 Other Civil Petition                                              2,9




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Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

  REASON:                                                             ADDRESS;
                                                                                  Stanley Mosk Courthouse
  LZ   1.    2.     3.    4.   5.   6.   7.   8.   9.   10.     11
                                                                                        111 N. Hill St
                                                                                   Los Angeles, CA 90012
  CITY:                                  STATE:         ZIP CODE:
  Los Angeles                            Ca             90012

Step 5: Certification of Assignment: certify that this case is properly filed in the Central
                                               I



District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
 Rule 2.3(a)(1)(E))

 Dated: 10/26/2022                                                    /s/Jack B. Iltnters, Jn.
                                                                            (SIGNATURE OF ATTORNEY/FILING PARTY

 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
 YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.
       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.   Civil Case Cover Sheet Judicial Council form CM-010.
       4.   Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (10/22).
       S.   Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
       6.   A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
            petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
            addendum must be served along with the Summons and Complaint, or other initiating pleading in the
            case.




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For Mandatory Use
                                              AND STATEMENT OF LOCATION



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                      Exhibit E




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                    Superior Court of California, County of Los Angeles


                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                    • want a public trial and want a judge or jury to decide the outcome.
                    • lack equal bargaining power or have a history of physical/emotional abuse.



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    For Mandatory Use
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                                   How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
              cases).

                    •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                    •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145


      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-23October19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator’sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
      programs for civil cases, visit ht tp://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.ht m


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                      Exhibit F




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                                                                                     FILED
                                                                              Superior Court of California
1                                                                               County of Los Angeles

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 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7
 8    IN RE LOS ANGELES SUPERIOR COURT )                  FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    FOR CIVIL                        )
                                                     )
10                                                   )
11    ___________                                    )

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17    following:
18    1) DEFINITIONS
19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20           quickly locate and navigate to a designated point of interest within a document.
21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
23       c) "Electronic Envelope" A transaction through the electronic service provider for submission
24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.
26       d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
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                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1        e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5        f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9          process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16    2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5     3) EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12    4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mask courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and /or served conventionally in
26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27    //
28    //


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS
5        a) Electronic documents must be electronically filed in PDF, text searchable format when
6            technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be bookmarked.
8        c) Electronic documents, including but not limited to, declarations, proofs of service, and
9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10           3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be bookmarked. Examples include, but are not
14           limited to, the following:
15           i)     Depositions;
16           ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19           v)     Points and Authorities;
20           vi)    Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23           encouraged.
24       f) Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
 9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information (such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13    7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the
22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.
26    8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before· the ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4     9) PRINTED COURTESY COPIES
5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22     0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25           1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28           electronically filed in any authorized action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1     1) SIGNATURES ON ELECTRONIC FILING
2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9
10    DATED: May 3, 2019
11
                                                            Presiding Judge
12

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                       77
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                                   #:79




                      Exhibit G




                                     78
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                                                   #:80


                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)
   LASC Approved 4-11
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER             Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                            CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
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                discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
                complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which such computation is based;

       i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                www.lacourt.org under “Civil” and then under “General Information”).

 2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                to ____________________ for the complaint, and ______________________ for the cross-
                         (INSERT DATE)                                       (INSERT DATE)
                complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                been found by the Civil Supervising Judge due to the case management benefits provided by
                this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
                click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

 3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
                and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                results of their meet and confer and advising the Court of any way it may assist the parties’
                efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                the Case Management Conference statement, and file the documents when the CMC
                statement is due.

 4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


 LACIV 229 (Rev 02/15)
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       Print                    Save                      81                                             Clear
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                                                                #:83
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER             Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                            CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                      Page 1 of 3

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                iii.   Be filed within two (2) court days of receipt of the Request; and

                iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
          be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and, if granted,
          the date and time of the Informal Discovery Conference, which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a “specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



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                                              #:85
 SHORT TITLE:                                                          CASE NUMBER:




 The following parties stipulate:

 Date:
                                                     
                 (TYPE OR PRINT NAME)                               (ATTORNEY FOR PLAINTIFF)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)
 Date:
                                                     
                 (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)




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 LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
 For Optional Use                                                                               Page 3 of 3

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                                                                #:86


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                    Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                   CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________ (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________ (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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                                                                #:87


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER             Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                            CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



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      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
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                                             #:88
 SHORT TITLE:                                                      CASE NUMBER:




 The following parties stipulate:

 Date:
                                                    
                (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
 Date:
                                                    
                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
 Date:
                                                    
                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
 Date:
                                                    
                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
 Date:
                                                    
                (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________)
 Date:
                                                    
                (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________)
 Date:
                                                    
                (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________)



 THE COURT SO ORDERS.

   Date:
                                                                   JUDICIAL OFFICER




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 LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                      Page 2 of 2

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 2
                                                                       FILED
                                                                    LOS ANGELES SUPERIOR COURT

 3                                                                          MAY 11 2011
 4                                                                     JOHN A CLAAKE,AL.EAK
                                                                           :"1( j~.YtU1tJ,N
 5                                                                   BY NANCV~AVAARO, DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES
 9
     General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11   Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                )         TO EARLY ORGANIZATIONAL
12                                              )         MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation in Los Angeles County;

19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                    -1-

                                0RDER PURSUANT TO CCP 1054(a)
                                                    88
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                                            #:90



            Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to

 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13
            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote .
23
            IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25   into an Early Organizational Meeting Stipulation, the time for a defending party to

26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                0RDER PURSUANT TO CCP 1054(a)
                                                89
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,,.                                               #:91



           by Code of Civil Procedure section 1054(a) without further need of a specific court

       2   order.




       :   DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                    Civil Departments, Los Angeles Superior Court
       6

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                                    0RDER PURSUANT TO CCP 1054(a)
                                                     90
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                                   #:92




                      Exhibit H




                                     91
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                                           #:93                                                  Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV34543

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                        DEPT             ROOM
   ✔     William F. Highberger              10




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       10/28/2022
    on _____________________________                                        G. Carini
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                  92
      Case 2:22-cv-08932-ODW-MRW                       Document 1 Filed 12/09/22                    Page 94 of 111 Page ID
                                                             #:94
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                    93
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                                   #:95




                       Exhibit I




                                     94
       Case 2:22-cv-08932-ODW-MRW                                   Document 1 Filed 12/09/22                              Page 96 of 111 Page ID
Electronically FILED by Superior Court of California, County of Los Angeles on 11/15/2022 06:07 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Thomas,Deputy Clerk
                                                                          #:96


                1     WINTERS & ASSOCIATES
                      Jack B. Winters, Jr. (SBN 82998)
                2     Sarah Ball (SBN 292337)
                      8489 La Mesa Boulevard
                3     La Mesa, California 91942
                      Tel: (619) 234-9000
                4     Fax: (619) 750-0413
                      Email: jackbwinters@earthlink.net
                5     Email: sball@einsurelaw.com
                6     NICHOLAS & TOMASEVIC, LLP
                      Craig M. Nicholas (SBN 178444)
                7     Alex Tomasevic (SBN    245598)
                      225 Broadway, 19th Floor
                8     San Diego, California 92101
                      Tel: (619) 325-0492
                9     Fax: (619) 325-0496
                      Email: cnicholas@nicholaslaw.org
              10      Email: atomasevic@nicholaslaw.org
              11 Attorneys for Plaintiff
                 MAGDA VELEZ, Individually, and
              12 on Behalf of the Class

              13
                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
              14
                                           COUNTY OF LOS ANGELES, GENERAL UNLIMITED
              15
                      MAGDA VELEZ, Individually,                                        Case No.: 22STCV34543
              16      and on Behalf of the Class,
                                                                                        PLAINTIFF MAGDA VELEZ’ NOTICE OF
              17                                         Plaintiff,                     APPEARANCE OF ATTORNEY SARAH
                                                                                        BALL
              18                     vs.
              19 FORESTERS LIFE INSURANCE
                 AND ANNUITY COMPANY, a
              20 New York Corporation; and DOES
                 1 through 10, Inclusive,
              21                                                                        Hon. William F. Highberger
                                                         Defendants.                    Dept.: 10, Spring Street Courthouse
              22                                                                        Action Filed: 10/27/22
              23

              24

              25

              26

              27

              28

                             PLAINTIFF MAGDA VELEZ’ NOTICE OF APPEARANCE OF ATTY. SARAH BALL


                                                                                    95
Case 2:22-cv-08932-ODW-MRW          Document 1 Filed 12/09/22      Page 97 of 111 Page ID
                                          #:97


    1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
    2          PLEASE TAKE NOTICE that, in addition to the other counsel already on
    3   record, Plaintiff MAGDA VELEZ, Individually, and on Behalf of the Class, will
    4   also be represented in this matter by:
    5
                                  Sarah Ball, Esq. (CA Bar 292337)
    6                               WINTERS & ASSOCIATES
    7                                   8489 La Mesa Blvd.
                                        La Mesa, CA 91942
    8                                Telephone (619) 234-9000
    9                                 Facsimile (619) 750-0413
                                    Email: sball@einsurelaw.com
   10

   11          Plaintiff respectfully requests that the foregoing counsel be added to all
   12   service lists in this matter.
   13
        DATED: November 15, 2022                       WINTERS & ASSOCIATES
   14

   15
                                                 By:    /s/Jack B. Winters, Jr.
   16                                                  Jack B. Winters, Jr., Esq.
                                                       Sarah Ball, Esq.
   17                                                  jackbwinters@earthlink.net
                                                       sball@einsurelaw.com
   18
                                                       NICHOLAS & TOMASEVIC, LLP
   19                                                  Craig M. Nicholas, Esq.
                                                       Alex Tomasevic, Esq.
   20                                                  cnicholas@nicholaslaw.org
                                                       atomasevic@nicholaslaw.org
   21
                                                       Attorneys for Plaintiff
   22                                                  MAGDA VELEZ, Individually,
                                                       and on Behalf of the Class
   23

   24

   25

   26

   27

   28
                                            2                   22STCV34543
            PLAINTIFF MAGDA VELEZ’ NOTICE OF APPEARANCE OF ATTY. SARAH BALL

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                       Exhibit J




                                     97
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                                              #:99



 1

 2

 3

 4                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 5                               FOR THE COUNTY OF LOS ANGELES

 6

 7
                                                       )       Case No. 22STCV34543
 8   MAGDA VELEZ                                       )
                                                       )       INITIAL STATUS CONFERENCE ORDER
 9                               Plaintiff,            )       (COMPLEX CLASS ACTIONS)
                                                       )
10          v.                                         )       Case Assigned for All Purposes to
                                                       )       Judge William F. Highberger
11                                                     )
     FORESTERS LIFE INSURANCE AND                      )       Department: SS10
12                                                     )
     ANNUITY COMPANY                                           Date: February 23, 2023
                                                       )       Time: 2:30 p.m.
13                                                     )
                                 Defendant.
                                                       )
14                                                     )
15

16

17          This Initial Status Conference Order (Complex Class Actions) supplements a Minute
18   Order served concurrently herewith. That Minute Order sets a date and time for the Initial
19   Status Conference and includes many other important provisions which are NOT repeated in this
20   Order. Counsel must review that Minute Order carefully to be fully informed of your
21   obligations and the unique processes used in the Los Angeles Superior Court Complex
22   Courtrooms.
23
            Note: Some provisions of this Order are in reference to wage-and-hour class actions and
24
     may not be applicable to other types of class actions. Insofar as they are irrelevant to your case,
25
     say so in your Joint Initial Status Conference Response Statement.
26
            Pending further order, the following is ordered:
27

28
                                                           1


                                                  98
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                                                 ID #:100



             The court orders counsel to prepare for the Initial Status Conference (“ISC”) by identifying and
 1

 2    discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to initiate

 3    contact with counsel for defense to begin this process. Counsel then must negotiate and agree, as much

 4    as possible, on a case management plan. To this end, counsel must file a Joint Initial Status Conference
 5
      Response Statement five (5) court days before the Initial Status Conference. The Joint Response
 6
      Statement must be filed on line-numbered pleading paper and must specifically answer each of the
 7
      below-numbered questions. Do not use the Judicial Council Form CM-110 (Case Management
 8
      Statement).
 9

10    1. PARTIES AND COUNSEL: Please list all presently-named class representatives and presently-

11       named defendants, together with all counsel of record, including counsel’s contact and email
12       information.
13
      2. STATUS OF PLEADINGS: Please indicate whether defendant has filed a Notice of Appearance
14
         or an Answer to the Complaint, and, if so, indicate the filing date(s).
15
      3. POTENTIAL ADDITIONAL PARTIES: Indicate whether any plaintiff presently intends to add
16

17
         additional class representatives, and, if so, the name(s) and date by which these class representatives

18       will be added. Indicate whether any plaintiff presently intends to name additional defendants, and, if

19       so, the name(s) and date by which the defendant(s) will be added. Indicate whether any appearing
20
         defendant presently intends to file a cross-complaint and, if so, the names of cross-defendants and
21
         the date by which the cross-complaint will be filed.
22
      4. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong person or entity,
23
         please explain why the named defendant is improperly named and the proposed procedure to correct
24

25       this error.

26    5. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party believes one or

27       more named plaintiffs might not be an adequate class representative, including reasons of conflict of
28
                                                            2


                                                       99
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                                                ID #:101



         interest as described in Apple Computer v. Superior Court (2005) 126 Cal.App.4th 1253, please
 1

 2       explain. No prejudice will attach to these responses.

 3    6. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.

 4    7. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list other cases
 5
         with overlapping class definitions. Please identify the court, the short caption title, the docket
 6
         number, and the case status.
 7
      8. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION WAIVER
 8
         CLAUSES: Please state whether arbitration is an issue in this case and attach a sample of any
 9

10       relevant clause of this sort. Opposing parties must summarize their views on this issue.

11    9. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel should identify and describe
12       the significant core issues in the case, and then identify efficient ways to resolve those issues,
13
         including one or more of the following:
14
         ◼ Motion to Compel Arbitration,
15
         ◼ Early motions in limine,
16

17
         ◼ Early motions about particular jury instructions and verdict forms,

18       ◼ Demurrers,

19       ◼ Motions to strike,
20
         ◼ Motions for judgment on the pleadings, and
21
         ◼ Motions for summary judgment and summary adjudication.
22
      10. CLASS CONTACT INFORMATION: Counsel should discuss whether obtaining class contact
23
         information from defendant’ s records is necessary in this case and, if so, whether the parties
24

25       consent to an “opt-out” notice process (as approved in Belaire-West Landscape, Inc. v. Superior

26       Court (2007) 149 Cal.App.4th 554, 561). Counsel should address timing and procedure, including

27       allocation of cost and the necessity of a third party administrator.
28
                                                           3


                                                     100
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      11. PROTECTIVE ORDERS: Parties considering an order to protect confidential information from
 1

 2           general disclosure should begin with the model protective orders found on the Los Angeles Superior

 3           Court Website under “Civil Tools for Litigators.”

 4    12. DISCOVERY: Please discuss a discovery plan. If the parties cannot agree on a plan, summarize
 5
             each side’s views on discovery. The court generally allows discovery on matters relevant to class
 6
             certification, which (depending on circumstances) may include factual issues also touching the
 7
             merits. The court generally does not permit extensive or expensive discovery relevant only to the
 8
             merits (for example, detailed damages discovery) at the initial stage unless a persuasive showing
 9

10           establishes early need. If any party seeks discovery from absent class members, please estimate how

11           many, and also state the kind of discovery you propose1.
12    13. INSURANCE COVERAGE: Please state if (1) there is insurance for indemnity or reimbursement,
13
             and (2) whether there are any insurance coverage issues which might affect settlement.
14
      14. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each party’s position
15
             about it. If pertinent, how can the court help identify the correct neutral and prepare the case for a
16

17
             successful settlement negotiation?

18    15. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for the following:

19           ◼ The next status conference,
20
             ◼ A schedule for alternative dispute resolution, if it is relevant,
21
             ◼ A filing deadline for the motion for class certification, and
22
             ◼ Filing deadlines and descriptions for other anticipated non-discovery motions.
23
      16. REMINDER WHEN SEEKING TO DISMISS:
24

25               “A dismissal of an entire class action, or of any party or cause of action in a class action, requires
                 court approval. . . . Requests for dismissal must be accompanied by a declaration setting forth
26               the facts on which the party relies. The declaration must clearly state whether consideration,

27
      1
          See California Rule of Court, Rule 3.768.
28
                                                                  4


                                                            101
     Case 2:22-cv-08932-ODW-MRW                     Document 1 Filed 12/09/22         Page 103 of 111 Page
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                 direct or indirect, is being given for the dismissal and must describe the consideration in detail.”2
 1

 2           If the parties have settled the class action, that too will require judicial approval based on a noticed

 3           motion (although it may be possible to shorten time by consent for good cause shown).

 4    17. REMINDER WHEN SEEKING APPROVAL OF A SETTLEMENT:
 5
             Plaintiff(s) must address the issue of any fee splitting agreement in their motion for preliminary
 6
             approval and demonstrate compliance with California Rule of Court 3.769, and the Rules of
 7
             Professional Conduct 2-200(a) as required by Mark v. Spencer (2008) 166 Cal.App. 4th 219.
 8
      18. NOTICE OF THE ISC ORDER:
 9

10           Plaintiff’s counsel shall serve this Initial Status Conference Order on all defense counsel, or

11           if counsel is not known, on each defendant and file a Proof of Service with the court within
12
             seven (7) days of the date of this Order. If the Complaint has not been served as of the date
13
             of this Order, plaintiff(s) must serve the Complaint, along with a copy of this Order, within
14

15           five (5) days of the date of this Order. Once served, each as yet non-appearing defendant

16           shall file a Notice of Appearance (identifying counsel by name, firm name, address, email
17
             address, telephone number and fax number). The filing of a Notice of Appearance is without
18
             prejudice to (a) any jurisdictional, substantive or procedural challenge to the Complaint, (b)
19

20           any affirmative defense, and (c) the filing of any cross-complaint in this action.

21
      Dated:
22

23                                                        ________________________________
                                                                   William F. Highberger
24                                                       Judge of the Los Angeles Superior Court

25

26

27
      2
          California Rule of Court, Rule 3.770(a)
28
                                                                5


                                                          102
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                     Exhibit K




                                   103
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                                           ID #:105
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 22STCV34543                                                                    November 18, 2022
 MAGDA VELEZ, vs FORESTERS LIFE INSURANCE AND                                            2:52 PM
 ANNUITY COMPANY


 Judge: Honorable William F. Highberger             CSR: None
 Judicial Assistant: Maribel Mata                   ERM: None
 Courtroom Assistant: None                          Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order re: Complex Designation

 By this order, the Court determines this case to be Complex according to Rule 3.400 of the
 California Rules of Court. The Clerk’s Office has assigned this case to this department for all
 purposes.

 Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
 thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
 fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
 or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
 dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
 All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
 service of this order.

 By this order, the Court stays the case, except for service of the Summons and Complaint. The
 stay continues at least until the Initial Status Conference. Initial Status Conference is set for
 02/23/2023 at 02:30 PM in this department. At least ten (10) days prior to the Initial Status
 Conference, counsel for all parties must discuss the issues set forth in the Initial Status
 Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
 Statement five (5) court days before the Initial Status Conference.

 The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
 Court and the parties manage this complex case by developing an orderly schedule for briefing,
 discovery, and court hearings. The parties are informally encouraged to exchange documents and
 information as may be useful for case evaluation.

 Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
 of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                            Minute Order                                 Page 1 of 3


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                                            ID #:106
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 22STCV34543                                                                      November 18, 2022
 MAGDA VELEZ, vs FORESTERS LIFE INSURANCE AND                                              2:52 PM
 ANNUITY COMPANY


 Judge: Honorable William F. Highberger              CSR: None
 Judicial Assistant: Maribel Mata                    ERM: None
 Courtroom Assistant: None                           Deputy Sheriff: None

 Appearance shall not constitute a waiver of any substantive or procedural challenge to the
 Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
 Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
 Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
 Private Attorney General Act (“PAGA”) claim.

 For information on electronic filing in the Complex Courts, please refer to
 https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
 “Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
 First Amended General Order of May 3, 2019, particularly including the provisions therein
 requiring Bookmarking with links to primary documents and citations; that Order is available on
 the Court’s website at the link shown above.

 For efficiency in communication with counsel, the complex program requires the parties in every
 new case to use an approved third-party cloud service that provides an electronic message board.
 In order to facilitate communication with counsel prior to the Initial Status Conference, the
 parties must sign-up with the e-service provider at least ten (10) court days in advance of the
 Initial Status Conference and advise the Court which provider was selected.

 The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
 parties to make audio or video appearances in Los Angeles County courtrooms.
 LACourtConnect technology provides a secure, safe and convenient way to attend hearings
 remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
 services and access to justice, LACourtConnect is intended to enhance social distancing and
 change the traditional in-person courtroom appearance model. See
 https://my.lacourt.org/laccwelcome for more information.

 This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
 portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
 Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
 is 01 and Dept. 10 is 10.

 Court reporters are not provided for hearings or trials. The parties should make their own
 arrangements for any hearing where a transcript is desired.

 If you believe a party or witness will need an interpreter, see the court’s website for information
 on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx
                                            Minute Order                                   Page 2 of 3


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                                           ID #:107
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 22STCV34543                                                                    November 18, 2022
 MAGDA VELEZ, vs FORESTERS LIFE INSURANCE AND                                            2:52 PM
 ANNUITY COMPANY


 Judge: Honorable William F. Highberger            CSR: None
 Judicial Assistant: Maribel Mata                  ERM: None
 Courtroom Assistant: None                         Deputy Sheriff: None


 Counsel are directed to access the following link for further information on procedures in the
 Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

 The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
 Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
 of service.

 Certificate of Mailing is attached.




                                           Minute Order                                 Page 3 of 3


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                     Exhibit L




                                   107
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                                              ID #:109
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Magda Velez,
DEFENDANT/RESPONDENT:
Foresters Life Insurance and Annuity Company
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              22STCV34543

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order re: Complex
Designation) of 11/18/2022, Initial Status Conference Order upon each party or counsel named below by
placing the document for collection and mailing so as to cause it to be deposited in the United States mail
at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate
sealed envelope to each address as shown below with the postage thereon fully prepaid, in accordance
with standard court practices.




    Sarah D. Ball
    Winters & Associates
    8489 La Mesa Blvd
    La Mesa, CA 91942




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 11/18/2022                                    By:   M. Mata
                                                           Deputy Clerk




                                      CERTIFICATE
                                               108OF MAILING
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                                          ID #:110


 1                                CERTIFICATE OF SERVICE
 2                       Velez, et al v. Foresters Life Ins. and Annuity Co.
                      United States District Court, Central District of California
 3                                            Case No.
 4
   At the time of service I was over 18 years of age and not a party to this action. I am employed
 5 by McDOWELL HETHERINGTON LLP. My business address is 1999 Harrison Street.
 6 Suite 2050, Oakland, CA 94612. My business telephone number is (510) 628-2145; my
   business fax number is (510) 628-2146. On this date I served the following document(s):
 7
 8      DEFENDANT’S NOTICE OF REMOVAL OF ACTION BY DEFENDANT
              FORESTERS LIFE INSURANCE AND ANNUITY COMPANY
 9
10 on the person or persons listed below, through their respective attorneys of record in this
   action, by placing true copies thereof in sealed envelopes or packages addressed as shown
11 below by the following means of service:
12
         Jack B. Winters, Jr. (SBN 82998)           Attorneys for Plaintiff
13       Sarah D. Ball (SBN 292337)                 MAGDA VELEZ, Individually, and on
                                                    Behalf of the Class
14       WINTERS & ASSOCIATES
         8489 La Mesa Boulevard
15       La Mesa, CA 91942-5335
16       Telephone: (619) 234-9000
         Facsimile: (619) 750-0413
17       Emails:    jackbwinters@earthlink.net
                    sball@einsurelaw.com
18
19       Craig M. Nicholas (SBN 178444)        Attorneys for Plaintiff
         Alex M. Tomasevic (SBN 245598)        MAGDA VELEZ, Individually, and on
20                                             Behalf of the Class
         NICHOLAS & TOMASEVIC, LLP
21       225 Broadway, 19th Floor
22       San Diego, CA 92101-5047
         Telephone: (619) 325-0492
23       Facsimile: (619) 325-0496
         Emails: cnicholas@nicholaslaw.org
24                  atomasevic@nicholaslaw.org
25
        Via Mail
26      [X] By enclosing a true and correct copy thereof in a sealed envelope and, following
             ordinary business practices, said envelope was placed for mailing and collection
27           in the offices of McDowell Hetherington LLP in the appropriate place for mail
             collected for deposit with the United States Postal Service. I am readily familiar
28           with the Firm’s practice for collection and processing of correspondence/
             documents for mailing with the United States Postal Service and that said

                                           PROOF OF SERVICE
                                                109
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 1           correspondence/documents are deposited with the United States Postal Service
             in the ordinary course of business on this same day.
 2
        Via Electronic Service
 3      [X] Based on a court order or an agreement of the parties to accept service by
             electronic transmission, I caused the documents to be sent to the persons at the
 4           electronic notification addresses listed.
 5 I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct to the best of my knowledge.
 6
   EXECUTED on December 9, 2022 at Oakland, California.
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                                                       /s/ Kaitlyn H. Skinner
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                                                          Kaitlyn H. Skinner
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